                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION
                            Consolidated Civil Action

RALEIGH WAKE CITIZENS
ASSOCIATION, et al.

                              Plaintiffs,

v.                                                                No. 5:15-cv-156

WAKE COUNTY BOARD
OF ELECTIONS,

                              Defendant.



CALLA WRIGHT, et al.,

                              Plaintiffs,

v.                                                                No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

                              Defendants.

_____________________________________________________________________________

     DECLARATION OF ANITA S. EARLS IN SUPPORT OF PLAINTIFFS’ MOTION
        FOR ATTORNEYS’ FEES, EXPERT FEES, AND LITIGATION EXPENSES
______________________________________________________________________________

       I, Anita S. Earls, declare under penalty of perjury that the following is true and correct:

       1.     I am counsel for all Plaintiffs in the above-styled consolidated actions.

       2.     I am the Executive Director of the Southern Coalition for Social Justice in

Durham, NC. My organization was retained in 2013 to represent Plaintiffs in Wright v. North

Carolina, an equal protection challenge to the 2013 redistricting plan for the Wake County Board




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of Education, and in 2015 to represent the Plaintiffs in Raleigh Wake Citizens Association v.

Wake County Board of Elections, an equal protection challenge to the identical 2015 redistricting

plan for the Wake County Board of Commissioners.

       3.      I am a 1988 graduate of Yale Law School and was admitted to practice law in the

State of North Carolina in April 1988. I have been a member of the Supreme Court Bar since

June 1994, and a member of the District of Columbia Bar since 2001. I am admitted to practice

in each of the Federal District Courts in the State of North Carolina.

       4.      I have extensive experience representing plaintiffs in voting rights cases in state

and federal courts, including cases brought under the Voting Rights Act of 1965 and U.S

Constitution, and cases raising state statutory and constitutional voting rights claims.

       5.      I have argued voting rights cases in the 1st, 4th, and 11th Circuit Courts of

Appeals, including winning an en banc argument in the U.S. Court of Appeals for the First

Circuit.

       6.      In addition, I have written numerous briefs for the United States Supreme Court,

including the brief for Defendant-Intervenors in Shaw v. Hunt, congressional redistricting

litigation in the 1990s, and for Defendant-Intervenors in Dean v. Leak, legislative redistricting

litigation from the Eastern District of North Carolina.

       7.      I was lead counsel in NAACP v. Harris, No. 01-civ-120 (S.D. Fla. 2001), federal

court litigation raising voting rights claims on behalf of the Florida NAACP in Florida following

the 2000 election.

       8.      Overall, I have been counsel in over 30 federal cases raising a variety of voting

rights claims. Attached as Exhibit A to this Declaration is a list of reported opinions in cases

involving voting rights claims in which I served as counsel for a party in the case and in which I



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have taken an active role in the litigation. Exhibit A does not include voting rights cases that

were resolved by settlement or without reported opinions, cases in which I have submitted

amicus briefs, and cases currently pending where no published opinion has been issued.

       9.      I have been an Adjunct Professor at University of North Carolina School of Law

and University of Maryland School of Law; an Adjunct Professor in the African and African-

American Studies Department at Duke University; and I held the post of a Visiting Research

Fellow at the Social Science Research Institute, Center for Race, Ethnicity and Gender in the

Social Sciences in 2009-2012, conducting research on census and redistricting issues. I have

published articles on voting rights issues in law reviews, popular journals and edited volumes,

and I have been a presenter at many continuing legal education programs, conferences, and

forums.

       10.     In July 2009, I was appointed by Governor Perdue to serve on the North Carolina

State Board of Elections. In 2006, I was appointed to the North Carolina Equal Access to Justice

Commission by the Chief Justice of the North Carolina Supreme Court, and I served as Secretary

for the Commission.

       11.     In 1998 I was appointed by President Clinton to serve as a Deputy Assistant

Attorney General in the Civil Rights Division of the U.S. Department of Justice. As part of my

duties, I had responsibility for the Voting Section of the Civil Rights Division. I was the Director

of the Voting Rights Project for the Lawyers’ Committee for Civil Rights Under Law in

Washington, D.C. for two and a half years. My CV is attached as Exhibit B.

       12.     As Executive Director for the Southern Coalition for Social Justice, I have

ultimate supervisory responsibility for all staff, including all attorneys, legal fellows, interns and

support staff. We employ a variety of electronic tools to assist staff in keeping contemporaneous



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time records of their work on cases in litigation and on all other matters. During the course of

this litigation, it was my responsibility to administer our primary timekeeping program and to

ensure that staff who use alternative electronic resources to record their time do so in a manner

that is retrievable and compatible with our primary system. All staff at SCSJ are required to keep

contemporaneous time records, including administrative staff members, and those records are

reviewed by their supervisors.

         13.   Allison Riggs is a senior attorney at the Southern Coalition for Social Justice,

where her practice focuses almost exclusively on voting rights.

         14.   Ms. Riggs is a 2009 graduate of the University of Florida Levin College of Law

and was admitted to practice law in the State of North Carolina in August of 2009. She is

admitted to practice in the Middle and Eastern District Courts in North Carolina, the Fourth

Circuit Court of Appeals, and has been a member of the Supreme Court Bar since 2012. Her

resume is attached as Exhibit C.

         15.   Ms. Riggs has extensive experience representing plaintiffs in voting rights cases

in state and federal courts, including cases brought under the Voting Rights Act of 1965 and the

U.S. Constitution, and cases raising state statutory and constitutional voting rights claims.

         16.   Ms. Riggs has argued voting rights cases in the 4th Circuit and Florida Supreme

Court.

         17.   Ms. Riggs has written briefs for the United States Supreme Court in

approximately a dozen cases to date, all of which involved voting rights issues.

         18.   Overall, Ms. Riggs has been counsel in over 25 voting rights cases, including four

cases litigating statewide redistricting plans following the 2010 decennial census—Texas, North




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Carolina, Tennessee and Florida. Her resume, attached as Exhibit C, includes a list of the voting

rights cases she has litigated.

          19.   Ms. Riggs has additionally been a visiting professor and guest lecturer at Duke

University, North Carolina Central University, University of North Carolina, and Harvard

University law schools. She has been a presenter at many continuing legal education programs,

conferences, and forums.

          20.   George Eppsteiner was a staff attorney at the Southern Coalition for Social Justice

from August 2014 to August 2016, and his practice with us focused almost exclusively on voting

rights.

          21.   Mr. Eppsteiner is a 2010 graduate of the University of Florida Levin College of

Law, was admitted to practice law in Florida in September 2010 and was admitted to practice

law in the State of North Carolina in August 2011. He is admitted to practice law in the Middle

and Eastern District Courts in North Carolina, the Fourth Circuit Court of Appeals and the U.S.

Supreme Court. His resume is attached as Exhibit D.

          22.   Mr. Eppsteiner has experience representing plaintiffs in voting rights cases in state

and federal courts, including cases brought under the Voting Rights Act of 1965 and the U.S.

Constitution, and cases raising state statutory and constitutional voting rights claims.

          23.   Emily Seawell is a staff attorney at the Southern Coalition for Social Justice,

where her practice focuses almost exclusively on voting rights.

          24.   Ms. Seawell is a 2015 graduate of Elon University School of Law and was

admitted to practice law in North Carolina in 2016. She is admitted to practice law in the Middle

and Eastern District Courts in North Carolina. Her resume is attached as Exhibit E.




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        25.       Ms. Seawell has experience representing plaintiffs in voting rights cases in state

and federal courts, including cases brought under the Voting Rights Act of 1965 and the U.S.

Constitution, and cases raising state statutory and constitutional voting rights claims.

        26.       Ms. Seawell has assisted in drafting briefs for the United States Supreme Court in

several cases to date, all of which involved voting rights issues.

        27.       Overall, Ms. Seawell has been counsel or has supported counsel of record in nine

voting rights cases, including five redistricting cases.          Her resume, attached as Exhibit E,

includes a list of the voting rights cases she has litigated.

        28.       Ms. Seawell has additionally been a guest speaker at Elon and Campbell law

schools in North Carolina, and has been a presenter at a number of community forums.

        A.        Requested Attorneys’ Fees

        29.       Below is a table summarizing all the time that Plaintiffs are seeking fees for, and

shows the 10% discount in time taken for time spent on the Plaintiffs’ racial gerrymander claim.


 Southern Coalition for Social Justice - Wright/RWCA - Attorneys' Fees Summary
 Billable Time
 Wright Case Only
                                                                                      Total Amount
 Timekeeper               Position                        Hours         Hourly Rate   Billed
 Anita Earls              Executive Director                264.68      $    550      $   145,574.00
 Allison Riggs            Senior Attorney                       66.02   $    400      $    26,408.00
 Christopher Ketchie      Policy Analyst                        67.25   $    225      $    15,131.25
 Emily Seawell            Legal Fellow (unlicensed)              11.4   $    200      $     2,280.00
 Jeremy Collins           Legal Fellow (unlicensed)             21.75   $    200      $     4,350.00
 Christopher Heaney       Legal Fellow (licensed)                5.36   $    250      $     1,340.00

 TOTAL - Wright only                                        436.46                    $   195,083.25

 RWCA Case Only
                                                                                      Total Amount
 Timekeeper               Position                        Hours         Hourly Rate   Billed
 Anita Earls              Executive Director                    47.85   $      550    $    26,317.50

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Emily Seawell           Legal Fellow (unlicensed)             6.58   $      200    $      1,316.00
Joseph Crupi            Legal Intern (unlicensed)             8.25   $      150    $      1,237.50


TOTAL - RWCA only                                           62.68                  $   28,871.00



RWCA/Wright - Consolidated
                                                                                   Total Amount
Timekeeper              Position                          Hours      Hourly Rate   Billed
Anita Earls             Executive Director                  390.8    $    550      $   214,940.00
Allison Riggs           Senior Attorney                    389.11    $    400      $   155,644.00
George Eppsteiner       Staff Attorney                      110.3    $    300      $     33,090.00
Emily Seawell           Staff Attorney (post-licensure)    145.74    $    250      $     36,435.00
Emily Seawell           Legal Fellow (unlicensed)          175.89    $    200      $     35,178.00
Christopher Ketchie     Policy Analyst                         23    $    225      $      5,175.00
Dr. Fred McBride        Senior Policy Analyst               108.2    $    225      $     24,345.00
Jaclyn Maffetore        Legal Extern (unlicensed)             44.3   $    150      $      6,645.00


TOTAL - Consolidated cases                                1387.34                  $511,452.00

Total Billable Amount                                                              $   735,406.25
        Less 10% Reduction of Hours in RWCA for Unsuccessful Claim                        ($54,032.30)

Total Amount Claimed                                                               $ 681,373.95



       30.      Plaintiffs are seeking payment for 264.68 hours of my time in the Wright case

only, for 43.07 hours of my time in the RWCA case only, and for 351.70 hours in the consolidated

cases. My time records were kept contemporaneously with the work performed. Pre-litigation

work in Wright began on March 20, 2013 when clients first contacted me about the proposed

legislation to change the method of electing the Wake County Board of Education, and the

Wright-only work included briefing and argument on Defendants’ motion to dismiss in the trial

and appeals courts. Pre-filing work in RWCA began on March 6, 2015, and included work

relating only to RWCA until shortly before the cases were consolidated in September 2015 for an

expedited discovery period and three-day trial. The cases remained consolidated on appeal and


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during the remedy phase. Plaintiffs’ counsel are not double billing for time spent on the two

cases, but instead billing for their total time spent. The claimed amount is the total lodestar

amount—determined by multiplying my hourly rate of $550 per hour by the hours I reasonably

and necessarily worked on this litigation. I have attached a table summarizing all SCSJ hours in

this case as Exhibit F, along with the detailed time records for each timekeeper.

       31.     In the course of this litigation, I have served as a lead litigator and trial counsel.

My work in representing all Plaintiffs consisted of advising my clients during the legislative

process; legal research; trial strategizing; witness preparation; examining and cross-examining

witnesses at trial; drafting and reviewing discovery requests and responses; communicating with

opposing counsel; interacting with and directing the work of experts; attending hearings and

trial; bearing primary responsibility for drafting and arguing remedial briefs and motions; and

much more.

       32.     Given my experience in voting rights litigation, I am requesting an award of $550

per hour for my work in this litigation. In my opinion, this reflects the usual and customary rate

for an attorney of my years of experience and specialized skill.

       33.     I possess the requisite understanding of relevant evidence to prosecute claims

under the Fourteenth Amendment. I have frequently recruited and directed the work of both

quantitative and qualitative social science experts in support of voting rights claims. Given this

necessary knowledge and experience, my claimed hourly rate is warranted and reasonable.

       34.     Plaintiffs are claiming $182,052 in attorneys’ fees for the work Allison Riggs

performed in this litigation in these consolidated cases. Her time was kept contemporaneously

with the work she performed. The claimed amount is the total lodestar amount—determined by




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multiplying her hourly rate of $400 per hour by the 455.13 hours she reasonably and necessarily

worked on this litigation. A table summarizing her hours in this case is attached as Exhibit F.

       35.     In the course of this litigation, Ms. Riggs has served as a primary litigator and

trial counsel. Her work in representing all Plaintiffs consisted of legal research; trial strategizing;

witness preparation; examining and cross-examining witnesses at trial; drafting and reviewing

discovery requests and responses; communicating with opposing counsel; interacting with and

directing the work of experts; coordinating witnesses and exhibits; attending hearings and trial;

bearing primary responsibility for drafting Plaintiffs’ trial brief and proposed findings of fact and

conclusions of law; and much more.

       36.     Given Ms. Riggs’ experience in voting rights litigation, she is requesting an award

of $400 per hour for her work in this litigation. In my opinion, this reflects the usual and

customary rate for an attorney of her experience and skill.

       37.     Ms. Riggs possesses the requisite understanding of relevant evidence to prosecute

claims under the Fourteenth Amendment. She has frequently recruited and directed the work of

both quantitative and qualitative social science experts in support of voting rights claims. Given

this necessary knowledge and experience, her claimed hourly rate is warranted and reasonable.

       38.     Plaintiffs are claiming $33,090 in attorneys’ fees for the work George Eppsteiner

performed in this litigation in these consolidated cases.         Mr. Eppsteiner’s time was kept

contemporaneously with the work performed.             The claimed amount is the total lodestar

amount—determined by multiplying his hourly rate of $300 per hour by the 110.3 hours he

reasonably and necessarily worked on this litigation. A table summarizing his hours in this case

is attached as Exhibit F.




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       39.     In the course of this litigation, Mr. Eppsteiner served as a secondary litigator and

trial counsel. His work in representing all Plaintiffs consisted of legal research; trial strategizing;

witness preparation; examining and cross-examining witnesses at trial; attending hearings and

trial; and more.

       40.     Given Mr. Eppsteiner’s experience in voting rights litigation, he is requesting an

award of $300 per hour for his work in this litigation. In my opinion, this reflects the usual and

customary rate for an attorney of his experience and skill.

       41.     Mr. Eppsteiner possesses the requisite understanding of relevant evidence to

prosecute claims under the Fourteenth Amendment.              Given this necessary knowledge and

experience, his claimed hourly rate is warranted and reasonable.

       42.     Plaintiffs are claiming $36,435 in attorneys’ fees for the work Emily Seawell

performed in this litigation in these consolidated cases.            Her time records were kept

contemporaneously with the work performed.             The claimed amount is the total lodestar

amount—determined by multiplying her hourly rate of $250 per hour by the 145.74 hours she

reasonably and necessarily worked on this litigation. A table summarizing her hours in this case

is attached as Exhibit F.

       43.     In the course of this litigation, Ms. Seawell served as litigation support for trial

counsel. Her work on behalf of all Plaintiffs consisted of advising clients during the legislative

process; legal research; drafting and reviewing discovery requests and responses; communicating

with opposing counsel; coordinating witnesses; attending hearings and trial; bearing secondary

responsibility for drafting Plaintiffs’ trial brief and proposed findings of fact and conclusions of

law; and much more.




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        44.    Given Ms. Seawell’s experience in voting rights litigation, she is requesting an

award of $250 per hour for her work in this litigation. In my opinion, this reflects the usual and

customary rate for an attorney of her experience and skill.

        45.    Ms. Seawell possesses the requisite understanding of relevant evidence to

prosecute claims under the Fourteenth Amendment.              Given this necessary knowledge and

experience, her claimed hourly rate is warranted and reasonable.

        46.    Plaintiffs are claiming a combined $51,109 in fees for the work of Emily Seawell

and Jeremy Collins, who spent 193.87 and 21.75 hours on this action, respectively, at a rate of

$200/hour as law clerks for the Southern Coalition for Social Justice before taking the North

Carolina bar exam; Jaclyn Maffetore, who spent 44.3 hours on this action at a rate of $150/hour

as a legal intern for the Southern Coalition for Social Justice; as well as Christopher Heaney,

who spent 2.175 hours on this action at a rate of $250/hour as a law clerk after passing the North

Carolina bar exam. The law clerks’ hours were devoted to tasks such as client and witness

management, legal research, drafting legal documents, and providing pretrial, trial, and appellate

support. Tables summarizing Ms. Seawell, Mr. Collins, Ms. Maffetore, and Mr. Heaney’s hours

in this case are attached as Exhibit F. In my opinion, their hourly rates reflect the usual and

customary rate for law clerks of their experience and skill.

        47.    Plaintiffs are am claiming a combined $44,651.25 in fees for the work of Dr.

Frederick McBride and Christopher Ketchie, who were employed by Plaintiffs as specialists in

geographic information systems. Dr. McBride spent 108.2 hours on this consolidated action at

an hourly rate of $225, and Mr. Ketchie spent 90.25 hours on this action at an hourly rate of

$225.   Those hours were devoted to tasks such as researching demographics and maps,

constructing shapefiles and preparing block assignment files for the challenged redistricting



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plans, geocoding incumbent residences, analyzing precinct splits, analyzing election returns,

preparing work product for Defendant’s requests for production of documents, and assisting

expert witnesses in understanding the case and preparing their analyses. Tables summarizing Dr.

McBride and Mr. Ketchie’s hours in this case are attached as Exhibit F. In my opinion, their

hourly rates are reasonable for policy analysts of their experience and skill.

        48.     Plaintiffs’ counsel and support staff worked carefully together to ensure that

efforts were not duplicated, and we conferred regularly by phone with opposing counsel to divide

up and streamline the joint trial preparation we undertook in this litigation to ensure that our

efforts and trial were efficient.

        49.     Using the factors outlined by the Fifth Circuit in Johnson v. Georgia Highway

Express, Inc., 488 F.2d 714, 717 (5th Cir. 1974), our requested awards are appropriate. As

discussed in more detail in Plaintiffs’ Motion for Attorneys’ Fees, Expert Fees, and Litigation

Expenses, this litigation involved extremely complicated legal and factual issues. My staff’s

expertise in voting rights, the history of discrimination in voting, and complex civil rights

litigation was necessary to advance the interests of our clients in this litigation. The obligations

imposed by this litigation—briefing requirements for trial and during the remedy phase, time

spent in trial and hearings, and more—had a great impact on our ability to take on other voting

rights cases. The time limitations imposed by the circumstances in this expedited litigation—

tight deadlines for briefing and impending election deadlines, for example—further lend support

to our claims for fees.

        50.     This case was very difficult and complicated, and involved balancing interests

between different racial and ethnic groups. The case involves Fourteenth Amendment issues yet

to be resolved by the United States Supreme Court.



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       51.     As fully explained in the Memorandum in Support of Motion for Attorney Fees,

Expert Fees, and Litigation Expenses, I have exercised appropriate billing judgment and limited

the hours for which Plaintiffs seek compensation. To account for RWCA Plaintiffs’ limited

success on their racial gerrymandering claim, I have applied a ten percent reduction to the hours

for which Plaintiffs seek compensation beginning with the time the RWCA complaint was

drafted. Taking into account both reductions, I have written off a total of $54,032.30 in fees.

       B.      Reasonable Expert Fees

       52.     Plaintiffs are also claiming a combined $32,813.42 in expert fees paid to the

Plaintiffs’ expert witnesses Anthony Fairfax and Dr. Jowei Chen. A table summarizing the

claimed expert fees is attached as Exhibit A to the Declaration of Allison J. Riggs dated

November 23, 2016.

       53.     Mr. Fairfax owns and runs a demographic analysis firm that provides Census-

based analyses and services to clients across the southeastern United States. Mr. Fairfax charged

$2,000 for the production of his report and $1,700 per day for the two days of trial work. Mr.

Fairfax expended that time communicating with Plaintiffs’ counsel, researching the challenged

redistricting plans and demographics in Wake County, conducting a statistical analysis of those

plans and demographics, performing quality control on his results, drafting and editing an expert

report, and preparing and delivering testimony in support of his findings.

       54.     Dr. Chen is a professor at the University of Michigan who specializes in computer

modeling and statistical analysis and who has provided expert services in a number of other

redistricting matters. Dr. Chen spent 40 hours at an hourly rate of $500, $2,000 a day for three

days of trial work, and $1,413.42 in travel expenses. He expended this time communicating with

Plaintiffs’ counsel, researching the challenged redistricting plans and demographics in Wake



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County, creating and running a series of statistical computer models to analyze the challenged

redistricting plans, conducting a statistical analysis of those plans and demographics, performing

quality control on his results, drafting and editing an expert report, and preparing and delivering

testimony in support of his findings.

       55.     In my opinion, Mr. Fairfax and Dr. Chen’s hourly rates for their services are

reasonable in light of their expertise in redistricting matters, the prevailing market rates for

experts of their caliber in voting rights cases, and the novelty of the claims and time constraints

under which they were asked to perform.

       C.      Reasonable Litigation Expenses and Costs

       56.     Plaintiffs are also claiming $56,831.34 in costs associated with the litigation. Of

that, $47,773.66 is for non-taxable costs, including travel expenses, expert fees and the like. The

remaining $9,057.68 is for taxable costs. A table summarizing the claimed taxable and non-

taxable costs is attached as Exhibit A to the Declaration of Allison J. Riggs.

       57.     In my opinion, and as detailed in Plaintiffs’ Memorandum in Support of Motion

for Attorney Fees, Expert Fees, and Litigation Expenses and Memorandum in Support of

Application for Costs, these expenses were reasonably incurred in the course of providing

effective representation to Plaintiffs, and Plaintiffs’ counsel made appropriate efforts throughout

the litigation to reduce unnecessary expenses.



I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Dated: November 23, 2016.



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           EXHIBIT A




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                                           EXHIBIT A


U.S. Supreme Court

   1. Dickson v. Rucho, 135 S. Ct. 1843; 191 L. Ed. 2d 719; (2015). On remand at Dickson v.
      Rucho, 368 N.C. 270, 781 S.E. 2d 404 (2015).

   2. Shaw v. Hunt, 517 U.S. 899; 116 S. Ct. 1894; 135 L. Ed. 2d 207 (1996); 861 F. Supp. 408
      (E.D. N.C. 1994).

   3. Reno v. Bossier Parish Sch. Bd., 528 U.S. 320; 120 S. Ct. 866; 145 L. Ed. 2d 845 (2000).

U.S. Courts of Appeals

   4. League of Women Voters v. North Carolina, 831 F.3d 204, 237 (4th Cir. 2016).

   5. LaRoque v. Holder, 679 F.3d 905; (D.C. Cir. 2012) cert. denied by Nix v. Holder, 2012 U.S.
      LEXIS 8809 (U.S., Nov. 13, 2012).

   6. N.C. Right to Life Comm. Fund v. Leake, 524 F.3d 427 (4th Cir. 2008), cert. denied Duke v.
             Leake, 2008 U.S. LEXIS 8014 (U.S., Nov. 3, 2008).

   7. Hayden v. Pataki, 449 F.3d 305 (2nd Cir. 2006).

   8. Muntaqim v. Coombe, 449 F.3d 371 (2nd Cir. 2006).

   9. Hall v. Virginia, 385 F.3d 421 (4th Cir. 2004), aff’g 276 F. Supp. 2d 528 (E.D. Va. 2003),
      cert. denied, 2005 U.S. LEXIS 2973 (U.S., Apr. 4, 2005).

   10. Metts v. Murphy, 363 F.3d 8 (1st Cir. 2004), rev’g Metts v. Almond, 217 F. Supp. 2d 252
       (R.I. 2002).

   11. Johnson v. Hamrick, 296 F.3d 1065 (11th Cir. 2002); 115 F. Supp.2d 1355 (N.D. Ga. 2001).

   12. Wilson v. Minor, 220 F.3d 1297 (11th Cir. 2000).

   13. Cannon v. Durham County Bd. of Elections, 129 F.3d 116, (4th Cir. 1997) (table) opinion at
             1997 U.S. App. LEXIS 31794.

   14. Gause v. Brunswick County, 92 F.3d 1178, (4th Cir. 1996) (table) opinion at 1996 U.S. App.
             LEXIS 20237.

   15. Republican Party v. North Carolina State Bd. of Elections, 27 F.3d 563 (4th Cir. 1994) (ta-
       ble) opinion at 1994 U.S. App. LEXIS 14961.



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   16. Moore v. Beaufort County, 936 F.2d 159 (4th Cir. 1991).



U.S. District Courts

   17. Covington v. N.C., 316 F.R.D. 117 (M.D.N.C. 2016).

   18. George v. Haslam, 112 F. Supp. 3d 700 (M.D. Tenn. 2015).

   19. Dean v. Leake, 550 F. Supp. 2d 594 (E.D.N.C. 2008), appeal dismissed 2008 U.S. LEXIS
       6697 (U.S., Oct. 6, 2008).

   20. Johnson v. Bush, 214 F. Supp. 2d 1333 (S.D. Fla. 2002); aff’d in part and rev’d in part by,
       Johnson v. Governor of Fla., 2003 U.S. App. LEXIS 25859 (11th Cir. Fla., Dec. 19, 2003).

   21. Ward v. Columbus County, 782 F. Supp. 1097 (E.D. N.C. 1991).

   22. McGhee v. Granville County, 860 F.2d 110 (4th Cir. 1988).

   23. NAACP-Greensboro Branch v. Guilford County Bd. of Elections, 858 F. Supp. 2d 516 (M.D.
            N.C. 2012).




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           EXHIBIT B




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                                       ANITA S. EARLS
       Cell: (919) 606-8473 | Email: anitaearls@gmail.com | Profile: www.linkedin.com/in/anitaearls

PROFESSIONAL SUMMARY
       A civil rights attorney with 28 years of experience addressing structural racism, protecting minority
voting rights, and advocating for fair and equitable opportunities for all people. An innovative and passionate
leader committed to racial justice in the south, with extensive experience in North Carolina and broad
connections nationally among social justice practitioners and philanthropic professionals.

EDUCATION
       Yale Law School, New Haven, Connecticut.
       J.D., January, 1988. Senior Editor, Yale Law Journal.

       Thomas J. Watson Fellowship, 1981-1982.
       Studying cooperative work organizations and the role of women in Chekereni Ujamaa Village,
       Tanzania; and the cooperative movement in Italy and England.

       Williams College, Williamstown, Massachusetts.
       B.A. Magna Cum Laude, June 1981. Major in Political Economy (Honors), and Philosophy. Honors
       and Awards: Phi Beta Kappa; Lehman Scholarship; National Achievement Scholarship.

EXPERIENCE
       Southern Coalition for Social Justice, Durham, N.C.
       Executive Director, September 2007 to present.
       Founder and Director of non-profit advocacy organization engaged in community lawyering with a
       human rights perspective to empower communities of color and economically disadvantaged
       communities in the south.
           Established innovative and multi-disciplinary program of advocacy across interrelated issue
              areas grounded in strong partnerships with community-based organizations.
           Raise and manage $1.3 million budget annually, lead 12 full-time staff.
           Litigate precedent-setting voting rights cases in state and federal court.
           Convene the Fair Redistricting Collaborative, and Southern Leadership for Voter Engagement,
              both regional coalitions of voting rights advocates; facilitate New Southern Strategy Coalition to
              address collateral consequences of convictions; co-lead national working group of voting rights
              attorneys.
           Lead strategic planning and assessment of program effectiveness.
           Foster internal racial equity initiative, and promote staff development generally.
           Support SCSJ’s Board of Directors, predominantly people of color, consistent with the
              organization’s mission of being community-led.

       Duke University, Durham, N.C.
       Visiting Research Fellow, Social Science Research Institute, Center for Race, Ethnicity and Gender in
       the Social Sciences, 2009 – 2012. Conducting research on census and redistricting issues. Partnered
       with key faculty to conduct the Community Census and Redistricting Institute in 2010.

       Adjunct Professor, spring 2004 & 2006. Taught undergraduate seminars for the African and African-
       American Studies Department on civil rights litigation topics.


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University of North Carolina Law School, Chapel Hill, N.C.
Adjunct Professor, fall 2006, spring 2008. Taught two upper level seminars – Constitution and the
Political Process; and Race, Residence & Municipal Exclusion, both involving rigorous writing
experience for students.

UNC Center for Civil Rights, Chapel Hill, N.C.
Director of Advocacy, August 2003 to September 2007. Developed and supervised implementation of
civil rights advocacy program, including complex litigation, policy analysis, public education and other
activities in voting rights, education and community development law.

Lawyers’ Committee for Civil Rights Under Law, Washington, D.C.
Director, Voting Rights Project and Coordinator, Police Misconduct Initiative, December 2000 to July
2003. Responsible for major civil rights litigation, public education efforts, and related public policy
advocacy. Led a multi-organization litigation team challenging the disenfranchisement of voters in the
2000 general election in Florida, NAACP v. Harris; argued successfully en banc

University of Maryland Law School, Baltimore, MD
Adjunct Professor, spring 2002. Taught Voting Rights Seminar to 2nd and 3rd year students, supervised
analytical writing assignments.

Civil Rights Division, U.S. Department of Justice, Washington, D.C.
Deputy Assistant Attorney General for Civil Rights, April 1998 to August 2000. Participated in policy
decisions and directed the Division’s litigation efforts. Responsible for Voting, Coordination and
Review, Educational Opportunities and Disability Rights sections of the Civil Rights Division. Key
policy achievements included revisions to the Department’s Guidance under Section 5 of the Voting
Rights Act, new Title VI regulations for all federal agencies, Guidance on federal grantees’
responsibilities to serve limited English proficient members of the public, and Guidance on the
aggregation of multi-racial census data for civil rights enforcement purposes.

Ferguson, Stein, Wallas, Adkins, Gresham & Sumter, Charlotte, N.C.
Partner, January 1993 to April 1998.
Associate, January 1988 to December 1992. Trial lawyer in civil rights litigation in state and federal
court including voting rights, employment discrimination, and police misconduct cases; criminal
defense; general litigation. Represented intervenors in Shaw v. Hunt voting rights litigation.

The Nation Institute, New York, N.Y.
Robert Masur Fellow in Civil Liberties, March to September 1987. Research and writing on civil rights
and constitutional issues.

Sheehan & Solomon, New Haven, CT
Intern, Summer 1986. Student-Funded Fellowship position; assisted civil rights litigation involving
sexual harassment claims and represented victims of domestic violence.

Professor Drew S. Days, Yale Law School.
Research Assistant, Summer 1985. Developed, organized and edited materials for Canadian Human
Rights course.

Hallmark, Carter & Atkinson, Solicitors, London, U.K.
Caseworker/Secretary, Jan. 1983 - June 1985. Initially helped organize legal aid practice. Assumed
responsibility for matrimonial and domestic violence cases including interviewing clients, preparing
papers, and attending court. Investigated claims and prepared briefs in housing, criminal and social
security cases.
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PUBLICATIONS
     “Voting Rights in North Carolina: 1982-2006,” 17 S. Cal. Rev. L. & Soc. Just. 577 (2008) (co-authors
     Emily Wynes & LeeAnne Quatrucci).

     “Voting Rights in Virginia: 1982-2006,” 17 S. Cal. Rev. L. & Soc. Just. 761 (2008) (co-authors
     Millonzi, Seliski & Dixon).

     “Introduction: Advancing minority voting rights : how do we get from here to there?” in Voting Rights
     and Minority Representation, 1 (D. Bositis, ed. 2006).

     “Equal Effects,” Legal Affairs, Nov.-Dec. 2003 at 22-23.

     "Where You Counted?--Civil Rights and the 1990 Census,” in One Nation, Indivisible: The Civil
     Rights Challenge for the 1990's, 352 (R. Govan & W. Taylor, eds. 1989) (co-author, J. Steinberg).

     Note, "Petitioning and the Empowerment Theory of Practice," 96 Yale L.J. 569 (1987).



PROFESSIONAL & COMMUNITY ACTIVITIES
     Faculty and Advisory Board Member, Shriver Center Racial Justice Training Institute (2014 to
            Present).
     Board Member, Blueprint North Carolina (2013 to Present).
     Board Member, Beloved Community Center (2013 to Present).
     Fellow, Rockwood Year-Long Leading from the Inside Out Program (2010 to 2011).
     Board Member, Durham Economic Resource Center (2010 to 2012).
     Member, North Carolina State Board of Elections (July 2009 to September 2011).
     Secretary, North Carolina Equal Access to Justice Commission (2006 to 2014).
     Volunteer, Legal Information Service, The Women's Center, Chapel Hill, N.C. (2003 to 2009).
     Board President, Legal Services of Southern Piedmont (1997 to 1998).
     Board Chair, Chemical Dependency Center of Charlotte-Mecklenburg (1997 to 1998).
     Member, Commission on Race Relations in the Legal Profession (1996 to 1998).
     Board Member, ACLU of North Carolina (1995 to 1998).




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           EXHIBIT C




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                                              Allison Riggs
                                          Senior Staff Attorney
                                   Southern Coalition for Social Justice
                                     1415 W. Highway 54, Suite 101
                                           Durham, NC 27707
                                  E-mail: Allison@southerncoalition.org
                                      Phone: 919-323-3380 ext. 117
                                           Fax: 919-323-3942

                                   Vitae – Current as of November 2016

                                                Education

2003 B.S.        University of Florida

2006   M.A. University of Florida (in History)

2009   J.D.      University of Florida Levin College of Law

                                                Admissions

2009 State of North Carolina

2011   United States District Court for the Eastern District of North Carolina

2012   United States District Court for the Middle District of North Carolina

2014   United States Court of Appeals for the Fourth Circuit

2012   United States Supreme Court

                                          Employment History

2009-2014               Staff Attorney
                        Southern Coalition for Social Justice
                        Durham, NC

2014 – present          Senior Staff Attorney
                        Southern Coalition for Social Justice
                        Durham, NC

                                           Voting Rights Cases

2016 – present – League of Women Voters of North Carolina v. Rucho
       -Case No. 1:16-cv-1164 (M.D.N.C.)



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       -counsel for plaintiffs alleging that the 2016 remedial North Carolina congressional redistricting
       plan is an unconstitutional partisan gerrymander

2016 – present – Howell v. McAuliffe
       -Case No. 160784 (Virginia Supreme Court)
       -counsel for Virginia NAACP as amicus in support of petitioner in mandamus action challenging
       Governor McAuliffe’s authority to restore the right to vote to Virginians with past felony
       convictions.

2015 – present – Action NC v. Strach
       -Case No. 1:15-cv-01063 (M.D.N.C.)
       -counsel for plaintiffs alleging violations by the North Carolina State Board of Elections,
       Department of Motor Vehicles, and Department of Health and Human Services of the National
       Voter Registration Act

2015 – present – Raleigh Wake Citizens Association v. Wake County Board of Elections
       -Case No. 5:15-cv-156 (E.D.N.C.)
       -counsel for plaintiffs challenging a local bill restructuring the Wake County Board of County
       Commissioners, alleging violations of the Equal Protection Clause.

2015 – present – City of Greensboro v. Guilford County Board of Elections
       -Case No. 1:15-CV-559 (M.D.N.C.)
       -counsel for plaintiffs challenging a local bill restructuring the Greensboro City Council and
       removing from the city the ability to change its method of election via referendum, alleging
       violations of the Equal Protection Clause; injunction issued in July 2015.

2013 – present – LWV NC v. North Carolina
       -Case No. 1:13-cv-660 (M.D.N.C.)
       -counsel for plaintiffs challenging the state’s omnibus voter suppression law, including the repeal
       of early voting, repeal of same day registration and out of precinct voting, alleging violations of
       the U.S. Constitution and the Voting Rights Act of 1965.

2013 – present – Currie v. State of North Carolina
       -Case No. 13-CVS-1419 (Orange County Superior Court, North Carolina)
       -counsel for plaintiffs challenging the state’s voter ID law, alleging violations of the state
       constitution.

2013 – present – Wright v. North Carolina
       -Case No. 5:13-cv-607 (E.D.N.C.)
       -counsel for plaintiffs challenging a local bill restructuring the Wake County Board of Education,
       alleging violations of the Equal Protection Clause.

2011- present - Perez v. Perry
       -Case No. 5:11-cv-00360 (W.D. Tx)




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       -counsel for Plaintiffs Texas State Conference of NAACP Branches, arguing that the enacted
       2011 plans for Congress and State House in Texas violated Section 2 of the Voting Rights Act
       and the equal protections of the Fourteenth Amendment.

2011- present – Dickson, et al. v. Rucho, et al./NC NAACP et al., v. North Carolina, et al.
       -Case Nos. 11-CVS-16896 and 11-CVS-16940 (pending in the North Carolina Supreme Court)
       -counsel for plaintiffs, the North Carolina NAACP, other civil rights organizations, and
       numerous state residents challenging under the federal and state constitutions the 2011 enacted
       redistricting plans for North Carolina congressional, state house and state senate districts

2015 – 2016 – Shapiro v. McManus
       -Case No. 14-990 (United States Supreme Court)
       -counsel for Amicus Virginia State Conference of NAACP Branches, arguing that a single judge
       hearing a redistricting case improperly dismissed the case, without referring it to the three-judge
       panel required by law.

2015 – 2016 – Personhuballah v. Alcorn
       -Case No. 3:13-cv-00678 (E.D. Va.)
       -counsel for Virginia NAACP in submitting plan as a non-party to the special master developing
       a remedial plan following the invalidation of congressional district invalidated as a racial
       gerrymander; counsel for Virginia NAACP as amicus in the United States Supreme Court in
       support of the decision of the court below.

2015 – 2016 – Harris v. Arizona Independent Redistricting Commission
       -Case No. 14-232 (United States Supreme Court)
       -counsel for Amicus Southern Coalition for Social Justice arguing that partisanship should not be
       allowed to justify redistricting plan population deviations of up to 10%, and highlighting for the
       Court examples of problems that such an exception would engender.

2014 – Morton v. State of North Carolina
      -Case No. 14-cv-013294 (Wake County Superior Court, North Carolina)
      -counsel for plaintiffs seeking judicial review of an arbitrary and capricious early voting plan for
      Lincoln County, NC.

2011-2013 - Texas v. United States
      -Case No. 5:11-cv-001303 (D.D.C.)
      -counsel for Defendant-Intervenor Texas State Conference of NAACP Branches, successfully
      arguing that the enacted 2011 plans for Congress, State House and State Senate in Texas violated
      Section 5 of the Voting Rights Act.

2012-2013 - Shelby County, Alabama v. Holder
      -570 U.S. _____, 2013 U.S. LEXIS 4917 (United States Supreme Court, June 25, 2013)
      -counsel for amicus political science and law professors, detailing for the court the vast amounts
      of empirical evidence that justify the Section 5 of the Voting Rights Act coverage formula
      reauthorized by Congress in 2006.



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2010 – 2012 - Nix v. Holder
       -133 S. Ct. 610 (United States Supreme Court, November 13, 2012)
       -counsel for Defendant-Intervenor North Carolina State Conference of NAACP Branches,
       defending the constitutionality of Section 5 of the Voting Rights Act in the D.D.C. and United
       States Supreme Court.

2012 – NAACP v. Duplin County, NC
       -Case No. 88-cv-7 (E.D.N.C.)
       -counsel for plaintiffs NC NAACP and Duplin County NAACP, successfully contesting dilutive
       modification of a consent decree that was put into place to provide black voters in the county
       with the opportunity to elect members to the Board of County Commission and Board of
       Education.

2012 – Holmes v. Lenoir County, NC, Board of Education
       -Case No. 86-120-cv-4 (E.D.N.C.)
       -counsel for plaintiffs, individual black voters in Lenoir County, NC, successfully contesting
       dilutive modification of a consent decree that was put into place to provide black voters in the
       county with the opportunity to elect members to the Board of Education.

2012 – Porter, et al. v. Stewart, et al.
       -Case No. 5:88-cv-950 (E.D.N.C.)
       -counsel for individual African-American voters in Harnett County, North Carolina, seeking
       modification of a voting rights consent decree (governing districts to elect members of the Board
       of County Commissioners and Board of Education) to allow for the continued protection of the
       voting rights of black voters in the county given population changes

2010 – League of Women Voters v. Rokita
       -929 N.E.2d 758 (Indiana Supreme Court, June 30, 2010)
       -counsel for amicus civil rights organizations, arguing that the Privileges and Immunities Clause
       of the Indiana constitution provides protections to voters in Indiana that exceed the protections
       provided by the federal constitution

2010 - 2011 – Libertarian Party of NC v. North Carolina
       -365 N.C. 41 (North Carolina Supreme Court, March 11, 2011)
       -counsel for amicus civil rights organizations, highlighting the policy reasons that justify open
       and easy ballot access for third-party candidates and parties

2012 - Greensboro Branch of the NAACP v. Guilford County, NC, Board of Elections, et al.
       -Case No. 1:12-cv-111 (M.D.N.C.)
       -counsel for plaintiffs Greensboro Branch of the NAACP and individual voters, successfully
       challenging on equal protection grounds a redistricting plan for the Guilford County Board of
       County Commissioners that would have effectively deprived a swath of county citizens of any
       representation for two years

2012 – In re: 2012 Joint Resolution of Legislative Apportionment
       -Case No. SC12-460, 89 So. 3d 872 (Florida Supreme Court, April 27, 2012)

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        -counsel for Florida State Conference of NAACP Branches, opposing on state constitutional
        grounds the state’s enacted redistricting plan for the State Senate and arguing in front of the
        Florida Supreme Court

2012 – 2015 – Romo, et al. v. Detzner, et al.
       -Case Nos. 2012-CA-000412 and 2012-CA-000490 (Leon County, FL, Circuit Court)
       -counsel for Defendant-Intervenor Florida State Conference of NAACP Branches, defending
       against state constitutional challenge a district which enables black voters in north-central
       Florida to elect their candidate of choice to U.S. Congress

2012 - 2014 - Moore, et al. v. Haslam, et al.,
       -Tennessee Court of Appeals No. M2013-00811-COA-R3-CV
       -counsel for plaintiffs, residents of Shelby County, TN, challenging under state constitution the
       Tennessee state senate redistricting plan enacted in 2011


                                                 Publications

Allison J. Riggs, Felony Disenfranchisement in Florida: Past, Present and Future, 28 ST. JOHN’S J. C.R.
& ECON. DEV. 111 (2015).

Allison J. Riggs & Jack E. Riggs, Epilepsy’s Role in the Historical Differentiation of Religion, Magic,
and Science, 46 EPILEPSIA 452 (2005).

Allison J. Riggs & Jack E. Riggs, “Guessing It Right”, John A. Simpson, and Myasthenia Gravis: the
Role of Analogy in Science. 62 NEUROLOGY 465 (2004).

Allison J. Riggs, RJ Millechia & Jack E. Riggs, The Contributions of Lavoisier, Carnot, and Mayer to
Understanding Heat Illness, 75 AVIATION, SPACE, AND ENVIRONMENTAL MEDICINE 916 (2004).

Jack E. Riggs & Allison J. Riggs, Prominent 59-year-old British neurosurgeon, Victor Horsley,
succumbs to heatstroke while serving with allied troops in Iraq, 18 BRITISH JOURNAL OF
NEUROSURGERY 375 (2004).


                      National and/or Notable Invited Voting Rights Presentations

2015 – NAACP Legal Defense & Education Fund, Inc., (LDF) Annual Civil Rights Training Institute
       -panelist, “A Change is Gonna Come: Advocating to Preserve and Advance the Right to Vote”
       -Airlie Conference Center, Warrenton, VA
       -October 23, 2015

2015 – Voto Latino Power Summit
       -panelist, “Battle of the Ballot: Latinos and the Fight for Voting Rights”
        -Charlotte, NC
        -September 29, 2015


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2012 - Congressional Black Caucus Institute
       -panelist: “Post Reconstruction 2012: Voter Suppression/I.D. Laws”
       -Tunica, MS
       -August 11, 2012

2011 - Congressional Black Caucus Institute
       -panelist: “Redistricting: Reapportioning and other Barriers to Participation – Having a Seat at
       the Table”
       -Tunica, MS
       -August 13, 2011

2014 – NAACP National Convention CLE
       -panelist: “Voter Suppression after the Shelby Decision”
       -Las Vegas, NV
       -July 2014

2013 - NAACP National Convention CLE
       -panelist: “Voting Rights After the Shelby Decision”
       -Orlando, FL
       -July 14, 2013

2012 - Hispanic National Bar Association
       -panelist: “Voting Rights and Voter Suppression Efforts”
       -Seattle, WA
       -August 23, 2012

2013 - Federalist Society event (voter ID)
       -panelist: “Voter ID in North Carolina,” with Hans Von Spakovsky, John Fund and Bob Hall
       -Raleigh, NC
       -February 6, 2013

2013 - Federalist Society event (Shelby County)
       -debater: “The Voting Rights Act and the Shelby County Case” with Roger Clegg
       -Durham, NC
       -March 26, 2013

2013 – North Carolina State House of Representatives Elections Committee
       -invited testimony: Invited Views on House Bill 589 (Voter Photo ID Requirement)
       -Raleigh, NC
       -March 13, 2013

2011 - Young Elected Officials Network National Convening
       -panelist: “Voting Reform and Redistricting: Meeting the Needs of an Increasingly Mobile
       Electorate and Protecting Communities of Interest”
       -Washington, D.C.
       -June 4, 2011

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2010- Young Elected Officials Network Policy Academy: Redistricting and Immigration
       -panelist: “In-Depth Redistricting Overview”
       -Los Angeles, CA
       -September 10, 2010

2010- Young Elected Officials Network National Convening
       -panelist: “Redistricting for Fair Representation”
       -Washington, D.C.
       -May 15, 2010

2012 - Paul C. Perkins Bar Association
       -presenter: “Election Protection and Voting Rights”
       -Orlando, FL
       -October 4, 2012

                          Exemplar National Media Work - Voting Rights

July 3, 2013, The Alan Colmes Show, Fox News Radio

July 2013 – Tell Me More, NPR

July 29, 2013 – The Rachel Maddow Show, MSNBC

June 30, 2013 – “Changes Loom for N.C. Electorate,” L.A. Times interview

August 12, 2014 – The Ed Show, MSNBC

February 12, 2016 – To the Point, NPR

May 1, 2016 – Politics Nation, MSNBC


                                               Awards

July 2013 - National NAACP Legal Department – 2013 Foot Soldier Award




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           EXHIBIT D




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George Eppsteiner                                                                geppstei@gmail.com
                                                                                 Cell Phone: 508-654-6888

EDUCATION
University of Florida, Fredric G. Levin College of Law                                       GPA: 3.63
Juris Doctor, cum laude                                                                      May 2010
        Top 12% of graduating class
        Florida Moot Court: Board Member; Journal of Law and Public Policy: Executive Articles Editor
        Book Awards: Juvenile Justice Law, Poverty Law
        Thesis: The Death Penalty and Deterrence: An Inevitable Relationship with an Uncertain Effect

University of Massachusetts Amherst, Isenberg School of Management                                  GPA: 3.96
B.S. Sport Management, B.A. Spanish, Commonwealth Honors College, summa cum laude                   May 2007
        Valedictorian for primary major

ADMISSIONS
      North Carolina Bar, admitted August 2011; Florida Bar, admitted September 2010
      Eastern District of North Carolina, Middle District and Southern District of Florida Federal Courts
      United States Supreme Court

EXPERIENCE
United States Department of Justice, Civil Rights Division, Voting Section                August 2016 – present
Trial Attorney
Southern Coalition for Social Justice, Durham NC                                         August 2014-July 2016
Staff Attorney, Voting Rights
         Draft motions and briefs in complex voting rights cases
         Conduct depositions and participate in trial in numerous voting rights cases
Cranfill Sumner & Hartzog LLP, Raleigh, NC                                             March 2012-August 2014
Associate in litigation defense group for one of North Carolina’s largest law firms
         Represent municipalities, school districts, individuals, and corporations in North Carolina federal
            and state courts regarding professional liability, business law, employment, and negligence claims.
         Compose and argue regularly at dispositive motion and pre-trial hearings.
         Draft complex legal documents including constitutional briefs and termination agreements.
Macfarlane, Ferguson & McMullen, Tampa, FL                                                  Sept. 2010-Feb. 2012
Associate in litigation group for Tampa’s oldest law firm
         Provided legal counsel to individuals, corporations, and non-profit organizations in commercial
            litigation, criminal, civil rights, and appellate areas.
         Assisted in all aspects of litigation process including client interviews, discovery, witness
            depositions, motion drafting and argument, and trial.
         Drafted pleadings and briefs including criminal First Amendment appeal and bankruptcy appeal.
Public Defender Clinic, University of Florida, Gainesville, FL                              Aug. 2009-Dec. 2009
Certified Legal Intern for 8th Circuit – Office of the Public Defender, State of Florida
         Represented indigent defendants in all phases of criminal cases in the state of Florida.
Southern Legal Counsel, Gainesville, FL                                                     Aug. 2009-May 2010
Center for Governmental Responsibility Public Service Fellow for public interest law firm
         Researched and wrote memorandums to support non-profit organization in federal civil rights
            claims under Individuals with Disabilities Education Act, 42 U.S.C. 1983, and Fair Housing Act.
UNC School of Government, Chapel Hill, NC                                                   June 2009-Aug. 2009
Law Clerk for largest university-based local government research institute in the U.S.
         Drafted training materials for NC public defenders in pre-trial release and domestic violence cases.
         Composed education law article regarding implications of student searches in NC public schools.
U.S. Department of Justice, United States Attorney’s Office                                 June 2008-Aug. 2008


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4432 Manns Chapel Rd. Chapel Hill, NC 27516
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Extern for the Middle District of Florida, Ft. Myers, FL.
         Drafted motions in limine and legal research memorandums for federal criminal actions.

PRO BONO
      Co-counsel with the Southern Coalition for Social Justice in election law claim.
      Member of the Legal Committee for the ACLU of North Carolina to advise Legal Director
       regarding current litigation and to approve engagement in statewide criminal and civil litigation.




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           EXHIBIT E




Case 5:15-cv-00156-D Document 119-1 Filed 11/23/16 Page 34 of 80
                                              Emily E. Seawell
                                  810 W. Bessemer Ave. • Greensboro, N.C. 27408
                                       eseawell@gmail.com • 336-740-4780




LEGAL WORK EXPERIENCE
  Southern Coalition for Social Justice, Durham, North Carolina
  Staff Attorney, February 2016 to present
  •   Engage in a full caseload of voting-related civil litigation and appeals in state and federal court; conduct
      legal and non-legal research; draft court documents and manage client relationships in legislative and
      legal matters involving redistricting, election administration, and the right to vote; address and respond
      to research requests from elected officials and community leaders on social justice-related topics; draft
      public communications; manage assignments for legal interns
  Postgraduate Legal Fellow, May 2015 to February 2016
  •   Continued to provide full-time litigation support in voting rights cases, including conducting legal research,
      drafting court documents, and assisting in preparations for depositions, hearings, and trials; continued
      to engage with clients, elected officials, and the community on social justice-related topics; continued to
      track civil rights legislation
  Legal Extern in Residence, January 2015 to May 2015
  •   Provided full-time litigation support in voting rights cases, including conducting legal research, drafting
      court documents, and assisting in preparations for depositions, hearings, and trials; engaged with clients,
      elected officials, and the community on social justice-related topics; tracked civil rights legislation

  Humanitarian Immigration Law Clinic, Greensboro, North Carolina
  Student Attorney, August 2014 to December 2014
  • Interviewed prospective clients with humanitarian and immigration-related needs; managed case
      construction, conducted a comprehensive deposition, and drafted an affidavit and brief in support
      of an individual application for asylum; researched country conditions for inclusion in asylum applications;
      represented pro bono clients in federal administrative hearings before United States immigration officers

  Elon University School of Law, Greensboro, North Carolina
  Research Assistant to Patricia Carole Perkins, May 2013 to May 2015
  • Conducted research and prepared class materials on best practices in legal writing and communication;
      prepared curricula and reports on best practices in leadership education and experiential education

  Atlantic Coast Conference, Greensboro, North Carolina
  Intern for Football Game Day Operations, Multimedia, and Legal Affairs, Fall 2013 and Fall 2014

  •   Drafted and reviewed contract provisions for corporate and media partnerships; assisted in enforcement
      of media and university contracts; assisted in football operations and game-day implementation of NCAA
      regulations and corporate partnerships

  North Carolina Supreme Court, Raleigh, North Carolina
  Judicial Extern for the Honorable Paul M. Newby, January 2014 to May 2014
  •   Researched and wrote legal memoranda on petitions for discretionary review before the North Carolina
      Supreme Court; assisted in briefing justice and other preparations for oral arguments before the court

  North Carolina Administrative Office of the Courts, Raleigh, North Carolina
  Extern for Legal and Legislative Services, Summer 2013
  • Conducted extensive statutory research to create fiscal impact and court cost reference guides for use
      by judicial and legislative branch employees




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                                            Emily E. Seawell
                                 810 W. Bessemer Ave. • Greensboro, N.C. 27408
                                      eseawell@gmail.com • 336-740-4780



OTHER POSTGRADUATE WORK EXPERIENCE
  AOL, Inc. / Patch, Tampa, Florida
  Associate Regional Editor - Florida, May 2011 to June 2012
  • Managed a network of community websites, employees, and contractors in the Tampa Bay area with a
      focus on editing, community relations, and user engagement; created and implemented regional strategies
      for improving readership rates, revenue, and efficiency; developed business and marketing partnerships
      with community leaders; worked collaboratively with sales and marketing managers to raise the company’s
      local profile; wrote a regional business plan that won the national best in company award

  Media General, Inc. (The Tampa Tribune, WFLA-TV, and TBO.com), Tampa, Florida
  Multimedia Editor, November 2005 to May 2011
  • Oversaw production of features and other advance content for newspapers in three metropolitan markets;
     led negotiations among senior managers in three states to create a universal code of professional standards;
     trained newsroom editors on online news production and print pagination systems; edited news, sports, and
     features articles for publication in print and online; planned, created, and edited multimedia projects for
     The Tampa Tribune and TBO.com, including designing web pages, editing HTML and CSS, and shooting
     and editing photos and videos; drafted multimedia and workflow strategies as a member of newsroom
     interactivity and social media strategy teams; was twice named employee of the month for collaboration
  Lexington Herald-Leader, Lexington, Kentucky
  Dow Jones National Honors Program Editing Intern, May 2005 to October 2005
  •   Edited news and features packages for factual and stylistic accuracy on daily deadline; wrote headlines,
      photo captions, and other display type aimed at concisely and effectively engaging and informing readers

EDUCATION
  Elon University School of Law, Greensboro, North Carolina
  Juris Doctor, May 2015
  • Dean’s Scholar; Leadership Fellow; ALI-CLE Award for Exemplary Scholarship and Leadership;
       NCBA Certificate for Commitment to Pro Bono Service; Editorial Board, Elon Law Review;
       Chair, Student Mentor Program; Chair, Elon Law Leadership Academy; Book Award, Legal Method
       & Communication; Book Award, Professional Responsibility; Presenter and Contributing Author,
       New York Law School Symposium on Twenty Years of South African Constitutionalism

  University of Florida, Gainesville, Florida
  Bachelor of Science in Journalism, April 2005
  •   Honors Program; National Merit Scholar; Managing Editor, The Independent Florida Alligator newspaper

SPEAKING ENGAGEMENTS
  Appalachian State University, Boone, N.C., September 2016
  • Spoke about the status of lawsuits challenging House Bill 589 and its implications for voters
  Florida Public Relations Association, Tampa Bay chapter, July 2016
  • Spoke on best practices in communication and community outreach on controversial legal issues
  League of Women Voters of North Carolina, statewide conference, April 2016
  • Spoke on best practices in legislative and local government advocacy and community engagement
  Concerned Citizens of Northeast Greensboro, N.C., April 2016
  • Spoke on legal and practical implications of House Bill 2 for communities of color
  Citizens for Economic and Environmental Justice, Greensboro, N.C., August 2015
  • Spoke on legal and practical implications of a redistricting plan for the Greensboro City Council




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           EXHIBIT F




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Southern Coalition for Social Justice ‐ Wright/RWCA ‐ Attorneys' Fees Summary
Billable Time
Wright Case Only
                                                                                    Total Amount
Timekeeper               Position                           Hours      Hourly Rate Billed
Anita Earls              Executive Director                    264.68 $      550.00 $ 145,574.00
Allison Riggs            Senior Attorney                        66.02 $      400.00 $      26,408.00
Christopher Ketchie      Policy Analyst                         67.25 $      225.00 $      15,131.25
Emily Seawell            Legal Fellow (unlicensed)                11.4 $     200.00 $       2,280.00
Jeremy Collins           Legal Fellow (unlicensed)              21.75 $      200.00 $       4,350.00
Christopher Heaney       Legal Fellow (licensed)                  5.36 $     250.00 $       1,340.00

TOTAL ‐ Wright only                                             436.46               $   195,083.25


RWCA Case Only
                                                                                    Total Amount
Timekeeper               Position                           Hours      Hourly Rate Billed
Anita Earls              Executive Director                     47.85 $         550 $      26,317.50
Emily Seawell            Legal Fellow (unlicensed)                6.58 $        200 $       1,316.00
Joseph Crupi             Legal Intern (unlicensed)                8.25 $        150 $       1,237.50

TOTAL ‐ RWCA only                                                62.68               $    28,871.00


RWCA/Wright ‐ Consolidated
                                                                                    Total Amount
Timekeeper               Position                           Hours      Hourly Rate Billed
Anita Earls              Executive Director                     390.8 $      550.00 $ 214,940.00
Allison Riggs            Senior Attorney                       389.11 $      400.00 $ 155,644.00
George Eppsteiner        Staff Attorney                         110.3 $      300.00 $      33,090.00
Emily Seawell            Staff Attorney (post‐licensure)       145.74 $      250.00 $      36,435.00
Emily Seawell            Legal Fellow (unlicensed)             175.89 $      200.00 $      35,178.00
Christopher Ketchie      Policy Analyst                             23 $     225.00 $       5,175.00
Dr. Fred McBride         Senior Policy Analyst                  108.2 $      225.00 $      24,345.00
Jaclyn Maffetore         Legal Extern (unlicensed)                44.3 $     150.00 $       6,645.00

TOTAL ‐ Consolidated cases                                     1387.34               $   511,452.00

Total Billable Amount                                                                $    735,406.25
             Less 10% Reduction of Hours in RWCA for Unsuccessful Claim                  ($54,032.30)

Total Amount Claimed                                                                 $   681,373.95




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Anita Earls ‐ Time Records
                 Wright v. State of North Carolina ONLY
     Date        Timekeeper             Hours       Task                  Description
    3/20/2013 Earls, Anita Sue                  0.3 Telephone Call ‐ ClienTf. Yevonne Brannon
    3/20/2013 Earls, Anita Sue                    1 Review                district data, impact of S325, analyze plan comparisons
    3/21/2013 Earls, Anita Sue                  0.4 Telephone Call ‐ ClienTt. Yevonne Brannon
    3/21/2013 Earls, Anita Sue                  0.5 Research              potential legal theories
    3/21/2013 Earls, Anita Sue                0.25 Conf.                  w/Allison re: potential claim
    3/21/2013 Earls, Anita Sue                  0.5 Review                precincts in proposed new districts
    3/21/2013 Earls, Anita Sue                0.25 Conf.                  w/Jeremy re: meeting with clients
    3/21/2013 Earls, Anita Sue                0.25 email to               Client re: analysis of districts
    3/25/2013 Earls, Anita Sue                  0.4 Edit                  Letter for public hearing
    3/25/2013 Earls, Anita Sue                  0.8 Edit                  Public hearing letter
    3/25/2013 Earls, Anita Sue                  3.5 Appear at Hearing Attend public hearing for Wake Delegation
    3/25/2013 Earls, Anita Sue                  0.3 Conf.                 w/clients re: potential next steps
    3/27/2013 Earls, Anita Sue                0.25 email to               clients re: potentially impacted areas
    3/27/2013 Earls, Anita Sue                  0.8 Research              media coverage of rationales for the plan
    3/27/2013 Earls, Anita Sue                  0.5 Review                existing research on disparities in Wake Co. pub. Schools
    3/27/2013 Earls, Anita Sue                0.25 Research               impacted precincts compared to student attendance zones
    3/27/2013 Earls, Anita Sue                  0.3 Conf.                 w/Jeremy re: legislative process & advocacy options
    3/28/2013 Earls, Anita Sue                  0.2 email to              clients re: legislative and litigation options
     4/2/2013 Earls, Anita Sue                  0.4 draft                 retainer agreement
     4/2/2013 Earls, Anita Sue                  1.7 Mtg                   in Raleigh with potential plaintiffs
     4/4/2013 Earls, Anita Sue                  2.5 draft                 initial complaint
     4/4/2013 Earls, Anita Sue                  0.5 Telephone Call ‐ ClienTt. Yevonne Brannon re plaintiffs and allegations for complaint
     4/5/2013 Earls, Anita Sue                  1.8 Edit                  draft of complaint
    4/11/2013 Earls, Anita Sue                0.25 email to               Yevonne Brannon re: status of bill
    4/16/2013 Earls, Anita Sue                  0.3 Telephone Call ‐ ClienTelephone call from Calla Wright
    4/18/2013 Earls, Anita Sue                  0.2 email to              Yevonne Brannon re: school board resolution
    4/24/2013 Earls, Anita Sue                  0.2 email from            clients re: school board resolution
    4/25/2013 Earls, Anita Sue                0.25 Review                 copy of school board resolution
     5/3/2013 Earls, Anita Sue                  0.5 Conf.                 with Chris Ketchie re: possible analysis of districts
     5/6/2013 Earls, Anita Sue                  0.2 email                 to client re: analysis of district plan alternatives
     5/6/2013 Earls, Anita Sue                0.25 Conf.                  with Allison re: legal claims
     5/7/2013 Earls, Anita Sue                  0.5 Conf.                 with Chris Ketchie re: partisan evaluation of deviations
     5/8/2013 Earls, Anita Sue                  0.4 Conf.                 w/Chris Ketchie re: results of data analysis


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  6/7/2013 Earls, Anita Sue           0.5 Conf.                 w/Chris Ketchie re: impact of population changes; data from Dan Frey
  6/8/2013 Earls, Anita Sue           0.7 review                Stam amendment changes
 6/10/2013 Earls, Anita Sue          0.25 Conf.                 w/Chris Ketchie re: analysis of partisan impact
 6/12/2013 Earls, Anita Sue           0.5 Telephone Call ‐ ClienTelephone call with clients re: impact of stam amendments
 6/13/2013 Earls, Anita Sue           0.8 Research              Potential claims
 6/17/2013 Earls, Anita Sue          0.75 Conf.                 w/Allison re: revising draft complaint
 6/19/2013 Earls, Anita Sue           0.5 Conf.                 w/Chris Ketchie re data required from General Assembly
 6/20/2013 Earls, Anita Sue           0.8 Conf.                 w/Allison & Chris re: impact of new districts
 6/21/2013 Earls, Anita Sue             2 Mtg                   w/Clients re: litigation requirements
 6/27/2013 Earls, Anita Sue           0.5 Conf.                 w/Chris Ketchie re: results of his analysis
  7/9/2013 Earls, Anita Sue           0.2 Conf.                 w/Allison re: data needed for complaint
 7/23/2013 Earls, Anita Sue           0.3 Telephone Call ‐ ClienTf. Yevonne Brannon re: preparing complaint
 7/24/2013 Earls, Anita Sue           0.5 Telephone Call ‐ ClienTt. Calla Wright, Earl Johnson
  8/5/2013 Earls, Anita Sue           0.3 Conf.                 w/Jeremy re: contacting clients
  8/6/2013 Earls, Anita Sue          0.25 Conf.                 w/Jeremy re: progress obtaining retainer agreements
 8/12/2013 Earls, Anita Sue             1 Review                draft complaint
 8/12/2013 Earls, Anita Sue           0.3 Conf.                 w/Allison Riggs re: edits to complaint
 8/13/2013 Earls, Anita Sue          0.35 Email                 from Amy Womble re: residency issues, research and prepare response
 8/14/2013 Earls, Anita Sue           0.8 Edit                  complaint
 8/20/2013 Earls, Anita Sue           1.2 Conf.                 Conference call with plaintiffs re: filing complaint & litigation plan
 8/20/2013 Earls, Anita Sue           0.5 Email                 to clients with draft of complaint
 8/21/2013 Earls, Anita Sue           0.8 Review                Client comments on draft complaint
 8/21/2013 Earls, Anita Sue          0.75 draft                 email outlining expected litigation budget
 8/22/2013 Earls, Anita Sue             1 Review                final draft of complaint
 8/26/2013 Earls, Anita Sue           0.5 Review                Summonses issued by court
 8/29/2013 Earls, Anita Sue             1 Prepare               materials for service
  9/4/2013 Earls, Anita Sue           0.5 Review                requirements for service
  9/5/2013 Earls, Anita Sue          0.25 Email                 to clients re: next steps
 9/25/2013 Earls, Anita Sue             1 Review                recent court filings & order assigning magistrate
10/23/2013 Earls, Anita Sue           0.5 Review                and respond to Email from Allison re: update on Status of case
 11/1/2013 Earls, Anita Sue           0.5 File                  Waiver of service documents
 11/4/2013 Earls, Anita Sue             1 Review                Motion to Dismiss and Answer
 11/5/2013 Earls, Anita Sue          0.25 Review                Order for Discovery Plan
11/13/2013 Earls, Anita Sue           4.6 Research              Grounds for motion to dismiss, sovereign immunity issues
11/13/2013 Earls, Anita Sue             2 Draft                 Amended Complaint
11/15/2013 Earls, Anita Sue           3.2 Research              motion to amend


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11/15/2013 Earls, Anita Sue           1.5 draft                 Motion to amend complaint & draft Order
11/15/2013 Earls, Anita Sue           0.3 Email                 to clients re: motion to dismiss and response
11/19/2013 Earls, Anita Sue           7.5 draft                 Memorandum in support of mot to amend
11/19/2013 Earls, Anita Sue           0.5 File                  Motion for leave to file amended complaint and amended complt
11/22/2013 Earls, Anita Sue          11.5 Research              and draft memorandum opposing motion to dismiss
11/23/2013 Earls, Anita Sue           2.5 Edit                  and file memorandum opposing motion to dismiss
 12/4/2013 Earls, Anita Sue           0.2 email                 to clients update on status of case
 2/21/2014 Earls, Anita Sue          0.25 review                notice of hearing
 2/23/2014 Earls, Anita Sue           0.2 email                 to Allison re: covering hearing
 2/23/2014 Earls, Anita Sue          0.25 email                 to law school cancelling panel presentation because of Wright hearing
 2/23/2014 Earls, Anita Sue           0.2 email                 to clients re: hearing on motion to amend
 2/24/2016 Earls, Anita Sue           0.3 email                 to clients explaining purpose of hearing & responding to questions
 2/24/2014 Earls, Anita Sue          1.75 Prepare               for argument on motion
 2/25/2014 Earls, Anita Sue           0.3 email                 to clients re: hearing in Elizabeth City
 2/26/2014 Earls, Anita Sue           2.5 Prepare               for hearing
 2/27/2014 Earls, Anita Sue           6.5 Travel                to and from Elizabeth City for Hearing on Motion to Dismiss
 2/27/2014 Earls, Anita Sue           1.5 Appear at Hearing Hearing on Motion for leave to file amended complaint
 2/27/2014 Earls, Anita Sue          0.35 Telephone Call ‐ Clientt. Yevonne Brannon and Calla Wright re: hearing on motions
 2/27/2014 Earls, Anita Sue          0.25 Conf.                 w/opposing counsel re: possible discovery schedule
 3/17/2014 Earls, Anita Sue           1.5 Review                Order granting motion to dismiss
 3/17/2014 Earls, Anita Sue           0.5 Telephone Call ‐ Clientelephone calls to clients re: dismissal of case
 3/17/2014 Earls, Anita Sue           0.3 Emails                responding to inquiries regarding dismissal of claims
 3/17/2014 Earls, Anita Sue           0.5 Conf.                 with Allison re: appeal
 3/18/2014 Earls, Anita Sue           0.3 email                 to clients re: dismissal of case, next steps
 3/19/2014 Earls, Anita Sue           0.4 Telephone Call ‐ ClienTf. Clients re possible appeal
 3/27/2014 Earls, Anita Sue           0.5 Email                 to clients with doodle poll to set up meeting re: appeal
 3/28/2014 Earls, Anita Sue           3.5 Research              re: grounds for appeal
 3/28/2014 Earls, Anita Sue           0.2 Email                 to clients with details of meeting
 3/29/2014 Earls, Anita Sue           0.1 Email                 to Allison re: appeal
 3/31/2014 Earls, Anita Sue           0.1 Email                 reminder to clients re: meeting
  4/1/2014 Earls, Anita Sue           0.5 Email                 mutiple emails to clients to set up meeting on appeal
  4/2/2014 Earls, Anita Sue           1.5 Meeting               with clients to discuss appeal
  4/7/2014 Earls, Anita Sue          0.65 draft                 and file notice of appeal
  4/7/2014 Earls, Anita Sue           0.2 email                 to Shannah re: posing notice of appeal
  4/7/2014 Earls, Anita Sue           0.2 email                 to Allison re: assistance with appeal
  4/8/2014 Earls, Anita Sue          0.25 Email                 to client explaining rationale for appeal


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 4/9/2014 Earls, Anita Sue           0.3 Review       docketing notice
 4/9/2014 Earls, Anita Sue          0.45 draft        and file notice of appearance
4/10/2014 Earls, Anita Sue          0.25 Review       appeal deadlines
4/15/2014 Earls, Anita Sue           0.2 Email        to Chris Heaney re: docs needed for appeal
4/15/2014 Earls, Anita Sue           4.5 Research     legal grounds for appeal on merits of claim
4/16/2014 Earls, Anita Sue          2.75 draft        and file corporate disclosure statements and docketing statement
4/16/2014 Earls, Anita Sue          1.25 Research     qualified immunity issues for appeal
4/16/2014 Earls, Anita Sue           1.6 Draft        proposed joint appendix
4/16/2014 Earls, Anita Sue           0.5 Email        with letter to opposing counsel re: joint appendix
4/16/2014 Earls, Anita Sue           0.3 Draft        letter to opposing counsel serving filed documents
4/30/2014 Earls, Anita Sue           0.3 Review       emails from opposing counsel re: joint appendix and respond
4/30/2014 Earls, Anita Sue           0.8 draft        correction to docketing statement and file
5/12/2014 Earls, Anita Sue          1.25 Research     partisan gerrymander cases
5/13/2014 Earls, Anita Sue           2.5 Research     one‐person, one‐vote claims, basis for expansion of law
5/13/2014 Earls, Anita Sue          0.75 Emails       from printer re: joint appendix, compile joint appendix
5/14/2014 Earls, Anita Sue           2.5 Research     significance of summary affirmance, legal issues for appeal
5/18/2014 Earls, Anita Sue           4.3 draft        4th circuit brief statement of facts
5/19/2014 Earls, Anita Sue          12.5 draft        brief and legal research for brief
5/19/2014 Earls, Anita Sue          0.25 email        to Chris Heaney with copy of joint appendix
5/20/2014 Earls, Anita Sue           7.4 draft        brief and email to printer
5/20/2014 Earls, Anita Sue          0.35 Conf.        with Allison re: brief
5/20/2014 Earls, Anita Sue           0.3 Email        to law professor with draft of brief seeking input
5/20/2014 Earls, Anita Sue           0.2 Email        to client re:draft of brief
5/20/2014 Earls, Anita Sue          3.25 Edit         draft brief & incorporate changes
5/20/2014 Earls, Anita Sue           0.5 Emails       to printer with revisions to brief
5/21/2014 Earls, Anita Sue           2.5 Review       printer's draft of brief
5/21/2014 Earls, Anita Sue           0.2 Email        to Chris Heaney re: draft of brief
5/21/2014 Earls, Anita Sue           0.2 Email        to clients with final brief
 7/2/2014 Earls, Anita Sue           0.5 Review       Appellees brief
 7/2/2014 Earls, Anita Sue           0.2 email        to clients with copy of appellees brief
 7/8/2014 Earls, Anita Sue          0.25 email        to printer to establish deadlines for reply brief
7/11/2014 Earls, Anita Sue           5.2 Research     cases cited by Appellees
7/11/2014 Earls, Anita Sue           0.5 Conf.        with Allison re: strategy for reply brief
7/12/2014 Earls, Anita Sue          7.25 Research     and draft reply brief
7/14/2014 Earls, Anita Sue           0.1 Email        responding to question regarding status of case
7/14/2014 Earls, Anita Sue          0.25 Email        to Shelvia and Jeremy re: assistance needed


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 7/14/2014 Earls, Anita Sue           5.5 draft                 reply brief
 7/15/2014 Earls, Anita Sue          4.75 draft                 reply brief
 7/15/2014 Earls, Anita Sue          0.25 Review                cases from Chris Heaney & Email from Jeremy Collins
 7/16/2014 Earls, Anita Sue           8.5 draft                 & edit reply brief, review printers' proofs, emails to printer
  9/5/2014 Earls, Anita Sue          1.33 Review                court calendar and email to clients with briefs
 9/15/2014 Earls, Anita Sue           0.4 Review                emails from Alec Peters re: counsel's availability
 10/2/2014 Earls, Anita Sue          0.25 draft                 and file oral argument acknowledgement form
10/14/2014 Earls, Anita Sue           0.5 Emails                to and from clients re: significance of oral argument
10/16/2014 Earls, Anita Sue             1 Meeting               with clients re: potential remedial issues
10/27/2014 Earls, Anita Sue             1 Telephone Call ‐ Clientelephone from Calla Wright & emails to Yevonne Brannon
11/19/2014 Earls, Anita Sue           0.5 Conf.                 with Allison re: preparing for oral argument
11/25/2014 Earls, Anita Sue          0.25 Conf.                 with Allison regarding case notebooks and oral arg. prep
11/25/2014 Earls, Anita Sue           0.2 Email                 to clients re: plans for oral argument prep.
 12/1/2014 Earls, Anita Sue           0.2 email to              Allison re: possible judges for practice argument
 12/2/2014 Earls, Anita Sue             1 Prepare               for oral argument
 12/3/2014 Earls, Anita Sue          0.75 Conf Call             w/Kareem re: prep. for oral argument
 12/3/2014 Earls, Anita Sue           0.1 Email                 to Allison re: oral argument prep.
 12/4/2014 Earls, Anita Sue           0.5 email to              clients re: facts relating to oral argument
 12/4/2014 Earls, Anita Sue             2 Prepare               for oral argument including practice argument
 12/5/2014 Earls, Anita Sue          4.25 Prepare               for 4th Cir. oral argument including practice argument
 12/6/2014 Earls, Anita Sue             1 Prepare               for oral argument
 12/8/2014 Earls, Anita Sue          2.25 Prepare               for oral argument
 12/9/2014 Earls, Anita Sue           3.2 Travel                to Richmond
 12/9/2014 Earls, Anita Sue             2 Attend                oral arguments in 4th circuit to observe
 12/9/2014 Earls, Anita Sue            11 Prepare               for oral argument
12/10/2014 Earls, Anita Sue             3 Appear at Hearing to argue appeal in 4th circuit
12/10/2014 Earls, Anita Sue             2 Travel                to Washington, DC for presentation on case theory
12/15/2014 Earls, Anita Sue           0.5 Conf.                 with Allison to review oral argument
 5/27/2015 Earls, Anita Sue             1 Review                4th Circuit opinion
 5/27/2015 Earls, Anita Sue           0.5 Review                emails re: 4th circuit decision
  6/1/2015 Earls, Anita Sue           1.5 draft                 email to clients explaining opinion and next steps
  6/2/2015 Earls, Anita Sue             1 Email                 from clients and responding to clients' questions about ruling
  6/8/2015 Earls, Anita Sue          0.25 Email                 correspondance with opposing counsel re: withdrawal
 6/10/2015 Earls, Anita Sue           0.5 Review                court filings re: defendants' representation
 6/10/2015 Earls, Anita Sue           1.5 Review                Defendants' petition for rehearing and emails to co‐counsel and clients re: same
 6/17/2015 Earls, Anita Sue          0.75 Review                court order requiring response to petition for rehearing


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6/17/2015 Earls, Anita Sue          0.25 email        to Allison and George re: response required
6/17/2015 Earls, Anita Sue           0.2 email        to clients with update on case status
6/25/2015 Earls, Anita Sue           1.5 Meeting      with clients to answer questions re: status of case
6/26/2015 Earls, Anita Sue         10.75 Research     re: grounds for rehearing & draft response
6/27/2015 Earls, Anita Sue          12.2 Draft        Response to Petition for Rehearing
6/29/2015 Earls, Anita Sue           5.5 Edit         Response to Petition for Rehearing, incoroporate comments & file
6/29/2015 Earls, Anita Sue          0.25 Review       Response to Petition for rehearing filed by AG's office and email to Allison and George
7/15/2015 Earls, Anita Sue           0.5 Review       Order denying petition for rehearing, email to clients, Allison & Emily
7/16/2015 Earls, Anita Sue           0.3 Email        denial of rehearing to co‐counsel, research rules re: mandate
7/24/2015 Earls, Anita Sue          0.35 Review       Order reassinging case and email to clients
8/19/2015 Earls, Anita Sue           0.2 Review       filings re: Defendants' counsel in Wright v. NC

           TOTAL                  264.68




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Anita Earls ‐ Time Records
          RWCA v. Wake Co. Bd. of Elections ONLY
      Date        Timekeeper      Hours       Task         Description
       3/6/2015 Earls, Anita Sue          0.5 Telephone ca From client re: proposal to change Wake Co. Commission Districts
       3/6/2015 Earls, Anita Sue          0.3 Email        to CK re: analysis needed of proposed Wake Co. Districts
       3/6/2015 Earls, Anita Sue          1.5 Review       data regarding proposed district plan and email to clients
       3/6/2015 Earls, Anita Sue          0.4 Review       draft legislation S181
       3/6/2015 Earls, Anita Sue          0.5 Review       notes of Senate Redistricting Committee mttg. 3/5
       3/6/2015 Earls, Anita Sue         0.75 Telephone ca to client re: proposed legislation
      3/16/2015 Earls, Anita Sue          1.5 Review       analysis of districts, telephone call to client
      3/16/2015 Earls, Anita Sue          0.5 Conf.        with Chris Ketchie re: district maps
      3/16/2015 Earls, Anita Sue          0.3 Email        to client explaining analysis of maps
      3/17/2015 Earls, Anita Sue          0.2 Email        to CK re: block assignment files
      3/21/2015 Earls, Anita Sue          0.5 Draft        individual and organization retainer agreements
      3/21/2015 Earls, Anita Sue          0.3 Email        to client with draft retainer agreement
      3/23/2015 Earls, Anita Sue         0.75 Review       draft taking points re: potential legislation
      3/24/2015 Earls, Anita Sue          0.5 Email        to clients re: impact of existing litigation on legislative proposal
      3/24/2015 Earls, Anita Sue          0.2 Review       emails from clients
      3/25/2015 Earls, Anita Sue          2.5 Meeting      with potential clients in Raleigh
       4/2/2015 Earls, Anita Sue          0.5 Emails       re: setting up meeting with clients
       4/6/2015 Earls, Anita Sue          1.5 Review       initial draft complaint
       4/7/2015 Earls, Anita Sue          1.3 Meeting      with potential clients in Raleigh
       4/7/2015 Earls, Anita Sue          2.4 Research     grounds for racial gerrymander claim
       4/8/2015 Earls, Anita Sue          0.2 Email        to follow up with clients
       4/8/2015 Earls, Anita Sue          0.5 Email        and conf. w/CK re: analysis needed for one‐person, one vote claim
       4/8/2015 Earls, Anita Sue          0.5 Review       CK analysis of split precincts for gerrymander claim
       4/8/2015 Earls, Anita Sue          1.5 Emails       back and forth with clients re: allegations of complaint
       4/8/2015 Earls, Anita Sue         5.75 Draft        complaint
       4/9/2015 Earls, Anita Sue          6.8 Revise       draft complaint, draft pleadings, file complaint
      4/10/2015 Earls, Anita Sue          2.5 Review       and file financial disclosure statements
      4/13/2015 Earls, Anita Sue          0.5 Review       filings and forward to J. Crupi for pleadings file
      4/14/2015 Earls, Anita Sue          0.3 email        to clients re: filing
       5/5/2015 Earls, Anita Sue          0.5 email        to Alec Peters with complaint & pleadings
       5/5/2015 Earls, Anita Sue          0.6 Review       and respond to email from Charles Marshall
      5/28/2015 Earls, Anita Sue          0.5 email        to Alec Peters re: dismissal in light of Wright ruling

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5/28/2015 Earls, Anita Sue           0.3 email    to clients re: impact of Wright decision
 6/1/2015 Earls, Anita Sue           0.5 Email    and telephone call from Charles Marshall re: extension of time to file answer
 6/1/2015 Earls, Anita Sue           0.4 Email    to clients explaining impact of Wright decision
 6/2/2015 Earls, Anita Sue           0.2 Email    responding to client question
 6/4/2015 Earls, Anita Sue           0.5 Email    to clients regarding next steps
 6/4/2015 Earls, Anita Sue           0.2 Email    to Charles Marshall confirming telephone conversation
 6/5/2015 Earls, Anita Sue          0.35 Email    to clients with copy of Amended Complaint
 6/5/2015 Earls, Anita Sue           0.5 Review   filing of waiver of service
 6/5/2015 Earls, Anita Sue           0.5 Draft    notice of voluntary dismissal
 6/5/2015 Earls, Anita Sue           1.5 Draft    Amended Complaint
 6/5/2005 Earls, Anita Sue           0.2 Review   and file Amended Complaint
 6/5/2015 Earls, Anita Sue           0.2 Email    to opposing counsel with copies of filings
 6/8/2015 Earls, Anita Sue           0.2 Email    to Emily and Allison re: filings
6/17/2015 Earls, Anita Sue           0.5 Review   filings by opposing counsel
6/18/2015 Earls, Anita Sue           0.3 Review   Court order extending time to answer
7/17/2015 Earls, Anita Sue           0.5 Review   Order reassigning case and email to clients
 8/3/2015 Earls, Anita Sue             1 Review   Answer filed by Wake Co. Bd. of Elections
8/18/2015 Earls, Anita Sue           0.3 Review   Order for Discovery Plan
8/24/2015 Earls, Anita Sue           1.5 Review   Amended Answer and email to clients
 9/8/2015 Earls, Anita Sue           0.3 Email    to opposing counsel to set up 26(f) meeting
 9/9/2015 Earls, Anita Sue           0.1 Email    to opposing counsel confirming call
 9/9/2015 Earls, Anita Sue          0.75 Conf.    with Allison & Emily re: litigation schedule

           Total                   47.85




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Anita Earls ‐ Time Records
                             RWCA v. Wake Co. Bd. of Elections & Wright v. NC CONSOLIDATED
    Date     Timekeeper         Hours      Task        Description
   9/11/2015 Earls, Anita Sue         0.75 Conf.       with Charles Marshall re: 26(f) report
   9/11/2015 Earls, Anita Sue          0.5 Conf.       with Allison & Emily re: preparing initial disclosures
   9/14/2015 Earls, Anita Sue          1.5 Draft       Discovery plan
   9/14/2015 Earls, Anita Sue          0.3 Email       to Charles Marshall with proposed discovery plan in both cases
   9/16/2015 Earls, Anita Sue          0.5 Email       and telephone conversation about scheduling
   9/17/2015 Earls, Anita Sue          0.3 Email       from Charles Marshall re: changes to proposed scheduling plan
   9/18/2015 Earls, Anita Sue          0.5 Conf.       and email with Emily re: defendants proposed schedule
   9/23/2015 Earls, Anita Sue          0.5 Conf.       with Charles Marshall re: discovery plan
   9/23/2015 Earls, Anita Sue         0.75 Edit        file and serve joint discovery report
   9/23/2015 Earls, Anita Sue          0.2 Telephone Call to Clerk's office re: conference with Judge
   9/24/2015 Earls, Anita Sue          0.2 Email       with Charles Marshall re: conference with Judge on discovery deadlines
   9/24/2015 Earls, Anita Sue          0.3 Email       to clients to set up conference call
   9/24/2015 Earls, Anita Sue          0.2 Review      notice from court re: scheduling hearing
   9/24/2015 Earls, Anita Sue          0.5 Review      and edit draft initial disclosures
   9/25/2015 Earls, Anita Sue          0.5 Review      Draft initial disclosures
   9/28/2015 Earls, Anita Sue          0.2 Email       to clients confirming conference call meeting
   9/28/2015 Earls, Anita Sue          0.3 Emails      back and forth with clients re: case update and conference call
   9/30/2015 Earls, Anita Sue            1 Conf.       with clients re: status of case and next steps
   9/30/2015 Earls, Anita Sue          0.5 Conf.       with Emily and Allison re: preparing for scheduling hearing
   10/1/2015 Earls, Anita Sue         0.75 Conf.       with Allison re: issues for scheduling conference
   10/1/2015 Earls, Anita Sue          1.2 Prepare for scheduling conference
   10/1/2015 Earls, Anita Sue          1.8 Appear      at scheduling confence with Court in Raleigh
   10/1/2015 Earls, Anita Sue          0.5 Email       to clients with update on case schedule
   10/1/2015 Earls, Anita Sue          0.3 Email       responding to client questions regarding next steps
   10/1/2015 Earls, Anita Sue          0.1 Review      court's consolidation and scheduling order
   10/1/2015 Earls, Anita Sue          0.2 Email       to Emily attaching pleadings for pleadings file
   10/2/2015 Earls, Anita Sue          1.5 Review      & edit draft discovery and trial plan
   10/5/2015 Earls, Anita Sue          0.2 Email       to client re: preparing for trial
   10/7/2015 Earls, Anita Sue            1 Telephone to Jowei Chen re: Wake County analysis
   10/8/2015 Earls, Anita Sue          0.5 Email       to Dr. Chen with pleadings, to set up conference call
   10/8/2015 Earls, Anita Sue          0.5 Review      materials for Dr. Chen
   10/8/2015 Earls, Anita Sue          0.5 Conf.       with Allison re: Chen testimony
   10/8/2015 Earls, Anita Sue            1 Conf.       with Allison & Emily re: discovery and trial plan




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10/12/2015 Earls, Anita Sue        1 Conf.     with Dr. Chen re: analysis needed in case
10/20/2015 Earls, Anita Sue      1.5 Email     and telephone conversation with Tony Fairfax re: demographic analysis
10/20/2015 Earls, Anita Sue      0.5 Email     retainer letter to Tony Fairfax
10/20/2015 Earls, Anita Sue      0.4 Conf.     with Fred McBride re: data Fairfax needs
10/20/2015 Earls, Anita Sue      0.5 Email     to Fairfax with complaint and other materials
10/21/2015 Earls, Anita Sue      0.6 Emails    to Emily and to Tony Fairfax re: legislative timeline
10/29/2015 Earls, Anita Sue        1 Conf.     With Allison & Emily re: legislative history transcripts
10/29/2015 Earls, Anita Sue      0.5 Review    Fairfax draft report
10/29/2015 Earls, Anita Sue      0.5 Telephone call with Tony Fairfax re: additional materials needed for analysis
10/30/2015 Earls, Anita Sue      0.6 Email     to Tony Fairfax re: draft report
10/30/2015 Earls, Anita Sue      0.4 Review    and respond to email from Allison re: Fairfax report and additional analysis needed
 11/2/2015 Earls, Anita Sue      2.5 Review    Draft expert reports, conf. & emails with Fairfax and Chen, conf. w/Allison, email to opposing counsel se
 11/3/2015 Earls, Anita Sue      0.2 Review    Court filings
 11/4/2015 Earls, Anita Sue     0.75 Review    motion to quash and supporting memolrandum
 11/9/2015 Earls, Anita Sue      0.2 Review    email from opposing counsel
11/10/2015 Earls, Anita Sue        1 Review    draft response opposing motion to quash
11/10/2015 Earls, Anita Sue      0.2 Telephone Call from client re: case update
11/13/2015 Earls, Anita Sue      0.5 Emails    and telephone call from Charles Marshall
11/13/2015 Earls, Anita Sue     0.75 Review    draft amended disclosures
11/13/2015 Earls, Anita Sue      0.5 Email     to Charles Marshall re: document requests
11/13/2015 Earls, Anita Sue      0.2 Review    Suppmemental disclosures of legislative materials
11/13/2015 Earls, Anita Sue      0.4 Email     to Charles Marshall attaching supplemental disclosures
11/16/2015 Earls, Anita Sue     0.75 Review    documents served by Defendants
11/16/2015 Earls, Anita Sue      0.5 Email     to Charles Marshall with revisions to email search terms
11/16/2015 Earls, Anita Sue      0.3 Email     to Dr. Chen re: Defendants' document requests
11/17/2015 Earls, Anita Sue     0.35 Email     to Fred McBride re: defendants' document request
11/28/2015 Earls, Anita Sue     0.85 Email     from Jowei Chen with documents requested by Defendants
11/30/2015 Earls, Anita Sue      2.8 Review    and edit plaintiffs' responses to doc. Requests, email to opposing counsel
11/30/2015 Earls, Anita Sue      0.5 Review    Case management order and pretrial conference requirements
 12/1/2015 Earls, Anita Sue      0.2 Review    email re: legislative record and conf. w/Emily
 12/1/2015 Earls, Anita Sue      0.3 Email     to Tony Fairfax providing legislative record information
 12/1/2015 Earls, Anita Sue      0.5 Review    documents and email to Emily & Allison re: legislator statements
 12/2/2015 Earls, Anita Sue      0.2 Email     to Fred McBride re: backup for expert witness docs
 12/3/2015 Earls, Anita Sue      0.5 Review    Court order on Motion to Quash
 12/3/2015 Earls, Anita Sue      0.4 Conf.     with George and Allison re: obtaining & reviewing docs.
 12/6/2015 Earls, Anita Sue      1.8 Review    Plaintiffs proposed findings of fact




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 12/6/2015 Earls, Anita Sue      1.5 Review    Draft trial brief
 12/7/2015 Earls, Anita Sue     3.25 Review    Trial plan, mttg. With trial team, prepare outlines
 12/8/2015 Earls, Anita Sue      0.3 Email     to Jowei Chen re: Defendants' Proposed Findings of Fact
 12/8/2015 Earls, Anita Sue      0.5 Review    trial subpoenas
 12/8/2015 Earls, Anita Sue      1.2 Review    draft response to trial beirf
 12/8/2015 Earls, Anita Sue      0.3 Emails    to Dr. Chen re: trial testimony prep
 12/9/2015 Earls, Anita Sue      0.5 Telephone call with Alec Peters re: compliance with subpoenas
 12/9/2015 Earls, Anita Sue      0.2 Email     to Peters and AG's office re: RWCA pretrial order and exhibit list
 12/9/2015 Earls, Anita Sue      1.4 Review    Defendants' pretrial filings
 12/9/2015 Earls, Anita Sue        1 Conf.     with trial team re: pretrial preparations
 12/9/2015 Earls, Anita Sue      2.2 Review    trial briefs and prepare for trial
 12/9/2015 Earls, Anita Sue      1.5 Review    Trial strategy outline, prepare for trial
12/10/2015 Earls, Anita Sue      2.5 Appear    at Pre‐trial conference;
12/10/2015 Earls, Anita Sue     1.25 Conf.     with trial team re: prep for trial
12/10/2015 Earls, Anita Sue      1.5 Prepare trial witness planner
12/10/2015 Earls, Anita Sue      2.5 Review    draft proposed stipulations
12/11/2015 Earls, Anita Sue      1.3 Edit      trial witness planner
12/11/2015 Earls, Anita Sue     0.35 Email     to Dr. Chen re: trial exhibits
12/11/2015 Earls, Anita Sue     1.75 Meeting with Dan Blue to prepare trial testimony
12/12/2015 Earls, Anita Sue      2.6 Prepare trial testimony outlines
12/12/2015 Earls, Anita Sue      0.5 Email     back and forth with Jowei Chen re: trial exhibits
12/12/2015 Earls, Anita Sue      1.5 Meeting with trial team to divide tasks and review strategy
12/12/2015 Earls, Anita Sue      3.5 Prepare witness testimony outlines
12/12/2015 Earls, Anita Sue     2.75 Review    Wake Co. School Board emails and docs.
12/12/2015 Earls, Anita Sue     0.75 Conf.     with trial team re: demonstrative exhibits
12/13/2015 Earls, Anita Sue      3.5 Prepare witness outlines and conf. with experts
12/13/2015 Earls, Anita Sue      1.5 Review    Trial briefs and elements of proof
12/13/2015 Earls, Anita Sue      2.5 Prepare witness notebooks
12/13/2015 Earls, Anita Sue     0.75 Emails    with Dr. Chen re: trial exhibits and testimony outline
12/13/2015 Earls, Anita Sue      1.5 Review    exhibit list
12/14/2015 Earls, Anita Sue      1.2 Prepare Earl Johnson testimony
12/14/2015 Earls, Anita Sue      2.5 Review    witness testimony of James West & Bill Fletcher
12/14/2015 Earls, Anita Sue      0.5 Email     to clients with trial info
12/14/2015 Earls, Anita Sue      1.5 Review    witness testimony outlines ‐ school board witnesses
12/14/2015 Earls, Anita Sue      1.4 Edit      trial witness planner
12/14/2015 Earls, Anita Sue      2.3 Review    witness testmony outlines ‐ legislators




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12/15/2015 Earls, Anita Sue      3.5 Prepare Jowei Chen testimony
12/15/2015 Earls, Anita Sue      2.5 Prepare witness exhibits
12/15/2015 Earls, Anita Sue     3.75 Prepare Tony Fairfax witness testimony
12/15/2015 Earls, Anita Sue      1.5 Edit      trial witness planner
12/15/2015 Earls, Anita Sue      1.5 Prepare opening statement
12/15/2015 Earls, Anita Sue      0.5 Email     to Charles Marshall with updated exhibits
12/15/2015 Earls, Anita Sue     2.75 Prepare trial notebook and exhibit notebooks
12/16/2015 Earls, Anita Sue        9 Appear    First day of trial
12/16/2015 Earls, Anita Sue      3.5 Prepare testimony for second day of trial
12/16/2015 Earls, Anita Sue        1 Travel    to and from Raleigh for trial
12/17/2015 Earls, Anita Sue        8 Appear    Second day of trial
12/17/2015 Earls, Anita Sue      0.3 Email     responding to questions regarding legislative privilege
12/17/2015 Earls, Anita Sue     3.75 Prepare closing argument
12/17/2015 Earls, Anita Sue        1 Travel    to and from Raleigh for trial
12/18/2015 Earls, Anita Sue      4.5 Appear    Third day of trial
12/18/2015 Earls, Anita Sue      2.3 Telephone calls and emails to clients with trial update
12/18/2015 Earls, Anita Sue        1 Travel    to and from Raleigh for trial
12/21/2015 Earls, Anita Sue      0.5 Email     to clients summarizing trial and next steps
12/21/2015 Earls, Anita Sue      1.5 Review    organize and store trial materials
12/30/2015 Earls, Anita Sue      0.5 Email     re: status of litigation
  1/5/2016 Earls, Anita Sue      0.2 Email     responding to request for information on status of case
 1/14/2016 Earls, Anita Sue      0.2 Email     re: transcript of trial proceedings
 1/26/2016 Earls, Anita Sue      0.1 Email     concerning delay in obtaining trial transcipt
 1/29/2016 Earls, Anita Sue      0.5 Conf.     with Allison regarding legislators post‐trial disclosures
  2/4/2016 Earls, Anita Sue      0.2 email     to client regarding status of case
 2/26/2016 Earls, Anita Sue      1.5 Review    Email with decision from District Court & emails to Allison
 2/29/2016 Earls, Anita Sue      2.5 Review    District court opinion and grounds for appeal
  3/1/2016 Earls, Anita Sue      0.5 Email     to clients re: impact of decision
  3/2/2016 Earls, Anita Sue        1 Conf Call Talk with all clients about decision
  3/2/2016 Earls, Anita Sue      1.2 Meet      with trial team to discuss next steps
  3/3/2016 Earls, Anita Sue      0.6 Draft     email and send to clients update on appeal
 3/10/2016 Earls, Anita Sue      0.5 Review    draft notices of appeal, emails to Emily & Allison re: timing of filing
 3/15/2016 Earls, Anita Sue      0.3 Conf.     with Allison & Emily re: filing appeal, docketing statement, deadlines
 3/16/2016 Earls, Anita Sue      0.5 Review    court notice requesting response to inquiry
 3/28/2016 Earls, Anita Sue      1.5 Review    Appellees' filings and response to court inquiry
 3/28/2016 Earls, Anita Sue     1.25 Review    Draft notice re: constitutional challenge and Response to inquiry




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3/28/2016 Earls, Anita Sue      0.5 Edit      Appellants' motion to expedite appeal
3/30/2016 Earls, Anita Sue      0.3 Review    court order re: record in connection with motion to expedite
 4/5/2016 Earls, Anita Sue     0.25 Review    court order expediting appeal
 4/6/2016 Earls, Anita Sue     0.45 Email     to clients updating status of case
 4/6/2016 Earls, Anita Sue      0.8 Emails    to numerous individual clients responding to questions about appeal
 4/7/2016 Earls, Anita Sue      0.2 Review    Oral argument acknowledgment form
 4/8/2016 Earls, Anita Sue      0.5 Conf.     with Allison & Emily re: oral argument strategy
 4/9/2016 Earls, Anita Sue      1.5 Conf.     with Allison re: Appellants' brief
4/12/2016 Earls, Anita Sue      1.5 Edit      Draft brief
4/13/2014 Earls, Anita Sue      0.5 Conf.     With Allison re: joint appendix contents
4/25/2016 Earls, Anita Sue      1.5 Review    Appellees' brief
4/26/2016 Earls, Anita Sue      0.5 Conf.     with Allison re: contents of reply brief and divide up drafting
4/27/2016 Earls, Anita Sue     2.75 Review    legal research and George and Emily's outlines for reply brief
4/28/2016 Earls, Anita Sue     8.75 Draft     reply brief section on OPOV claims
4/29/2016 Earls, Anita Sue      3.8 Edit      and proof reply brief
4/29/2016 Earls, Anita Sue      1.2 Emails    Requesting assistance with oral argument prep to multiple attorneys
 5/2/2016 Earls, Anita Sue      0.4 Emails    and telephone calls re: details of oral argument prep
 5/3/2016 Earls, Anita Sue      0.1 Email     from client re: oral argument & response
 5/3/2016 Earls, Anita Sue      2.5 Review    cases to prepare for oral argument
 5/4/2016 Earls, Anita Sue      4.5 Review    briefs and cases, outline oral argument
 5/5/2016 Earls, Anita Sue     2.25 Draft     outline for oral argument, research cases
 5/5/2016 Earls, Anita Sue      1.5 Conf.     Practice for oral argument
 5/6/2016 Earls, Anita Sue      7.5 Prepare for oral argument ‐ review expert reports, trial testimony
 5/7/2016 Earls, Anita Sue     6.25 Prepare outlines of key cases and review briefs
 5/7/2016 Earls, Anita Sue      0.5 Telephone with clients re: remedy questions
 5/8/2016 Earls, Anita Sue     2.75 Travel    Travel to Richmond
 5/8/2016 Earls, Anita Sue      7.5 Prepare Review briefs and cases to prepare for argument, assemble notebook
 5/9/2016 Earls, Anita Sue     4.25 Prepare Practice oral argument & edit outline
 5/9/2016 Earls, Anita Sue        2 Argument Appear at 4th Circuit Oral argument
 5/9/2016 Earls, Anita Sue     0.75 Meet      with clients to discuss oral argument & next steps
 5/9/2016 Earls, Anita Sue     2.75 Travel    Travel back from Richmond
5/10/2016 Earls, Anita Sue     0.75 Email     to clients summarizing oral argument
5/31/2016 Earls, Anita Sue     0.25 Review    Notice from Court re: trial exhibit
5/31/2016 Earls, Anita Sue     1.25 Draft     Response to court request for exhibit
 6/2/2016 Earls, Anita Sue      0.4 Edit      Edit Response to Court notice and file response
6/23/2016 Earls, Anita Sue     0.25 Research factual question from client re: S325




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6/29/2016 Earls, Anita Sue      0.6 Email      re: Dr. Chen's report and testimony ‐ request for info
 7/1/2016 Earls, Anita Sue      0.5 Email      to clients re: 4th Circuit opinion
 7/1/2016 Earls, Anita Sue      0.3 Email      to expert witnesses re: outcome of appeal
 7/1/2016 Earls, Anita Sue     1.25 Review     Read Fourth Circuit opinion
 7/1/2016 Earls, Anita Sue      1.5 Conf.      Discuss Fourth Circuit opinion w/ clients
 7/2/2016 Earls, Anita Sue      0.5 Email      and telephone call re: impact of decision
 7/5/2016 Earls, Anita Sue     0.75 Email      to clients re: next steps and setting up conference call
 7/6/2016 Earls, Anita Sue     1.25 Conf.      call with clients re: remedial stage options
 7/6/2016 Earls, Anita Sue      2.8 Draft      letter to opposing counsel re: implementation of remedy
 7/6/2016 Earls, Anita Sue      0.5 Conf.      with Allison & Emily re: remedial steps
7/11/2016 Earls, Anita Sue      0.5 Review     Court order re: views on court‐ordered remedial plan
7/11/2016 Earls, Anita Sue      0.8 Review     Progress on determining plaintiffs' proposed rememdy
7/11/2016 Earls, Anita Sue      0.5 Telephone From clients re: Wake Co. Board of Elections meeting
7/12/2016 Earls, Anita Sue      1.8 Email      and telephone calls re: potential remedial proceedings & timing
7/12/2016 Earls, Anita Sue      0.5 Legal Researe: right to intervene by legislators
7/12/2016 Earls, Anita Sue      1.5 Telephone calls from clients re: intervention and remedy issues
7/13/2016 Earls, Anita Sue      2.8 Research re: timing and appropriate remedy
7/13/2016 Earls, Anita Sue      0.6 Conf.      with Allison & Emily re: brief on potential remedy & plaintiff questions
7/14/2016 Earls, Anita Sue     0.25 Meeting W/Allison & Emily on Potential Petition for Rehearing
7/14/2016 Earls, Anita Sue     1.75 Legal Reseaon remedy for briefing to district court
7/14/2016 Earls, Anita Sue      1.5 Review     Petition for Rehearing
7/14/2016 Earls, Anita Sue      0.5 Review     Pleadings filed in District court
7/14/2016 Earls, Anita Sue     2.25 Legal Reseafor Motion to issue mandate
7/14/2016 Earls, Anita Sue     6.25 Draft      and file motion to issue mandate
7/15/2016 Earls, Anita Sue      0.5 Review     4th circuit orders issued
7/15/2016 Earls, Anita Sue     8.25 Draft      Brief in response to District Court order 7 8 2016
7/15/2016 Earls, Anita Sue      0.5 Review     Board of Elections letter regarding remedy
7/16/2016 Earls, Anita Sue       10 Research and draft brief on remedy issues
7/17/2016 Earls, Anita Sue      5.4 Draft      brief on remedy issues
7/18/2016 Earls, Anita Sue      1.5 Edit       Brief on remedy and file with District Court
7/18/2016 Earls, Anita Sue      0.8 Review     Response to Order filed by Berger, et. al.
7/18/2016 Earls, Anita Sue      1.8 Edit       filing on motion to intervene
7/18/2016 Earls, Anita Sue        1 Research extent of trial court remedial authority
7/18/2016 Earls, Anita Sue     0.75 Review     Response to Order filed by Wake Co. Bd. of Elections
7/19/2016 Earls, Anita Sue      1.2 Review     Pleadings filed in 4th circuit
7/26/2016 Earls, Anita Sue      0.3 Review     4th circuit denial of rehearing en banc




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7/26/2016 Earls, Anita Sue      0.5 Email      to clients with update on status of case
7/26/2016 Earls, Anita Sue      1.5 Email      and telephone calls from clients re: impact of 4th Cir order
7/27/2016 Earls, Anita Sue      0.5 Review     District court order re: status conference
7/27/2016 Earls, Anita Sue        1 Email      to clients and telephone calls re: status conference
7/28/2016 Earls, Anita Sue        3 Meeting with clients re: remedial issues & status conference
7/28/2016 Earls, Anita Sue      3.5 Legal ReseaRe: remedy issues
7/29/2016 Earls, Anita Sue        2 Draft      Memorandum for district court on remedy issues
7/30/2016 Earls, Anita Sue      4.5 Research and draft second brief on remedy issues
7/30/2016 Earls, Anita Sue      0.3 Email      to clients re: hearing on remedy
7/31/2016 Earls, Anita Sue        4 Draft      brief on remedy
 8/1/2016 Earls, Anita Sue     9.25 Research and draft brief on remedy
 8/2/2016 Earls, Anita Sue      1.5 Edit       remedy brief and file
 8/2/2016 Earls, Anita Sue        1 Travel     to and from Raleigh for hearing on remedy
 8/2/2016 Earls, Anita Sue      1.5 Attend     prepare for and attend hearing in front of Dever on remedy
 8/2/2016 Earls, Anita Sue      0.5 Meeting with clients and counsel after hearing to discuss next steps
 8/3/2016 Earls, Anita Sue      1.5 Research factual question raised by court during 8/4/2016 hearing
 8/3/2016 Earls, Anita Sue      2.5 Draft      and file post‐hearing memorandum
 8/3/2016 Earls, Anita Sue      1.5 Review     proposed remedial maps, conf. w/Fred McBride re: districts
 8/3/2016 Earls, Anita Sue     0.25 Review     4th Circuit order on motions & mandate
 8/3/2016 Earls, Anita Sue      0.5 Email      to opposing counsel Re: motion to strike
 8/4/2016 Earls, Anita Sue      1.3 Review     McBride analysis of alternative maps
 8/4/2016 Earls, Anita Sue      0.5 Review     District Court order re: request for briefing on remedy
 8/4/2016 Earls, Anita Sue      0.3 Email      to clients re: alternative districts
 8/4/2016 Earls, Anita Sue     0.75 Telephone from clients re: potential district remedies
 8/5/2016 Earls, Anita Sue      0.5 Conf.      with Allison re: motion to strike
 8/5/2016 Earls, Anita Sue      1.8 Edit       and file Motion to strike & accompanying memorandum
 8/5/2016 Earls, Anita Sue      5.2 Draft      Response to Aug. 4 Court Order
 8/5/2016 Earls, Anita Sue      0.8 Edit       incorporate changes to Response
 8/7/2016 Earls, Anita Sue      0.3 Review     Order of district court
 8/7/2016 Earls, Anita Sue      0.2 Email      to Charles Marshall re: consent to motion for extension of time
 8/8/2016 Earls, Anita Sue      0.2 Email      to Fred McBride re: obtaining shape files to evaluate districts
 8/8/2016 Earls, Anita Sue      0.5 Email      to clients with status of case
 8/9/2016 Earls, Anita Sue      0.3 Email      to opposing counsel
8/10/2016 Earls, Anita Sue      0.2 Email      to Charles Marshall re: motion for extension of time
8/11/2016 Earls, Anita Sue      0.3 Review     and respond to email from Marshall re: motion for extension of time
8/12/2016 Earls, Anita Sue      0.2 Email      to Emily re: filing motion for extension of time




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 8/15/2016 Earls, Anita Sue      0.5 Telephone conference with clients re: status and next steps
 8/17/2016 Earls, Anita Sue      0.5 Review    Bill of costs in 4th Circuit
 8/18/2016 Earls, Anita Sue      0.5 Conf.     with Allison re: meeting with clients
 9/21/2016 Earls, Anita Sue      0.2 Email     to Jowei Chen responding to question about trial testimony
 9/22/2016 Earls, Anita Sue      1.5 Research re: standards for fee petition
 9/27/2016 Earls, Anita Sue      2.5 Research on fees awards in voting rights cases
 10/3/2016 Earls, Anita Sue      1.5 Review    time records to prepare fee petition
 10/4/2016 Earls, Anita Sue     2.25 Review    staff time records relating to fee petition
 10/5/2016 Earls, Anita Sue      2.6 Draft     summary of time and expenses
 10/5/2016 Earls, Anita Sue        1 Meeting with Charles Marshall re: fees
 10/6/2016 Earls, Anita Sue      0.2 Email     to Charles Marshall re: additional extension of time
 11/7/2016 Earls, Anita Sue      0.2 Email     and telephone call to C. Marshall re: fee petition
11/19/2016 Earls, Anita Sue      6.5 Review    fee petition materials
11/20/2016 Earls, Anita Sue        7 Review    time and expense records, eliminate double‐entries,
11/21/2016 Earls, Anita Sue      3.5 Edit      fee petition & memorandum
11/22/2016 Earls, Anita Sue        4 Review    draft affidavits and fee records

            TOTAL              390.8




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Allison Riggs ‐ Wright/RWCA Time Records
Date             Timekeeper       Hours       Task                Description
      3/25/2013 Allison Riggs            0.35 Draft               Letter for public hearing
      3/25/2013 Allison Riggs             0.8 Draft               Public hearing letter
      3/25/2013 Allison Riggs            3.18 Appear at Hearing   finalizing testimony and attending hearing
       5/8/2013 Allison Riggs            0.65 Mtg                 school assignment zone alignment w/ CK
      6/13/2013 Allison Riggs               1 Telephone call      calls/emails w/ Chris Ketchie re: final verison; call with N&O reporter
      6/18/2013 Allison Riggs             0.5 Draft               complaint
      6/19/2013 Allison Riggs            1.17 Draft               complaint
      6/19/2013 Allison Riggs            0.55 Telephone call      call w/ client
      6/20/2013 Allison Riggs            2.23 Legal Research      Larios Complaint
      6/21/2013 Allison Riggs             0.7 Review              Larios litigation
      6/24/2013 Allison Riggs               1 Review              Larios pleadings
      6/24/2013 Allison Riggs            5.05 Draft               complaint
       7/9/2013 Allison Riggs             0.7 Draft               complaint
      8/12/2013 Allison Riggs            4.83 Draft               complaint; meet w/ CK re data
      8/14/2013 Allison Riggs            4.52 Draft               complaint
      8/22/2013 Allison Riggs               2 Filing in office    finishing and filing the complaint
      8/22/2013 Allison Riggs            1.43 Draft               summons/corporate disclosure
      8/23/2013 Allison Riggs            0.45 Filing in office    fixing ECF mistake
      8/23/2013 Allison Riggs               1 Filing in office    filing corporate/financial disclosure statements
      11/5/2013 Allison Riggs            0.67 Review              Ds answer to complaint
      5/20/2014 Allison Riggs            1.25 Review              Draft of 4th Cir Appeals brief
      5/20/2014 Allison Riggs            0.33 Call                Talking to Anita about 4th Cir appeals brief
       7/1/2014 Allison Riggs               1 Review              Defs' 4th Cir brief
     11/19/2014 Allison Riggs            0.37 Telephone call      w/ potential judge for moot for Anita's 4th Cir. argument
     11/20/2014 Allison Riggs             0.5 email to            2 potential judges re: moot
     11/24/2014 Allison Riggs            0.25 email to            potential judge re serving as a moot judge
     11/24/2014 Allison Riggs            0.42 Telephone call      w/ potential judge and follow up email with materials for moot

   11/24/2014 Allison Riggs                 2 Filing in office    prepping case notebooks and briefing notebooks for 4th Cir. arguments

   11/24/2014 Allison Riggs              0.25 Telephone call      w/ potential judge and follow up email about potential moot involvement
    12/1/2014 Allison Riggs              0.25 email to            call and email to potential judge about moot


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    12/1/2014 Allison Riggs            0.33 email to            email and call to potential judge about moot
    12/1/2014 Allison Riggs            0.27 email to            telephone call and email to NCCU about using moot courtroom
    12/1/2014 Allison Riggs            0.25 email to            email and call to potential judge about moot on Friday
    12/1/2014 Allison Riggs            0.28 email to            email and call to potential judge about internal moot on Thursday
    12/2/2014 Allison Riggs            0.17 email to            email to potential judges about moot on Friday
    12/3/2014 Allison Riggs             0.2 email to            telephone call and email to NCCU about using moot courtroom
    12/3/2014 Allison Riggs            0.17 email to            potential judges about moot on Friday
    12/3/2014 Allison Riggs             0.2 email to            email and call to potential judge re moot
    12/4/2014 Allison Riggs            1.17 Attend              internal moot for Anita's argument
    12/4/2014 Allison Riggs            0.75 Draft               mock state argument
    12/4/2014 Allison Riggs            0.58 Review              appellate pleadings
    12/4/2014 Allison Riggs            0.25 Draft               questions for Anita at internal moot
    12/5/2014 Allison Riggs            1.83 Attend              moot at NCCU
    12/8/2015 Allison Riggs               1 Draft               Reasons for Deviations cheat sheet for Anita
    12/9/2014 Allison Riggs            3.17 Travel              to Richmond for argument
    12/9/2014 Allison Riggs             1.5 Attend              last minute moot for Anita
    12/9/2014 Allison Riggs             4.5 Prepare             Legal research and one‐pagers for Anita's argument
    12/9/2014 Allison Riggs            0.58 Telephone call      radio interview w/ WUNC about case
    12/9/2014 Allison Riggs            0.25 Telephone call      answering media inquiries from News & Observer
    12/9/2014 Allison Riggs             0.5 Prepare             gathering materials needed to bring to Richmond for argument
   12/10/2014 Allison Riggs            4.25 Appear at Hearing   argument in 4th Circuit case, debrief after
   12/10/2014 Allison Riggs            0.42 email to            moot judges updating them about the argument, response emails
   12/10/2014 Allison Riggs            2.75 Travel              back from Richmond for argument
    5/27/2015 Allison Riggs            1.25 Review              Wright opinion from Fourth Circuit
WRIGHT ONLY SUBTOTAL                  66.02

      4/9/2015 Allison Riggs           1.25 Edit                Review and edit draft complaint
                                                                Prepare for 26(f) conference (discussion topics, suggested points of
     9/9/2015 Allison Riggs            1.67 Prepare             agreement)
    9/11/2015 Allison Riggs            0.75 Attend              26(f) conference
    9/14/2015 Allison Riggs             1.5 Review              Draft Discovery Plan ‐ make suggested additions
    9/25/2015 Allison Riggs            0.67 Edit                Final 26(a) disclosures
    9/30/2015 Allison Riggs            0.75 Conference Call     Updating clients
    10/1/2015 Allison Riggs            1.75 Attend              Travel to and attend scheduling conference w/ Judge in Raleigh


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10/12/2015 Allison Riggs              1 Conference Call   W/ Dr. Chen about expert analysis
10/14/2015 Allison Riggs           0.67 Edit              Legislator subpoena attachments
10/15/2015 Allison Riggs            1.5 Draft             Chen retainer agreement
10/15/2015 Allison Riggs           0.33 Edit              Erika Churchill subpoena attachment
10/20/2015 Allison Riggs           1.33 Meeting           Interviewing potential witness Darren Jackson
10/28/2015 Allison Riggs           1.75 Meeting           Interviewing potential witness Amy Womble
10/28/2015 Allison Riggs            1.5 Meeting           Interviewing potential witness Grier Martin; travel from meeting
10/29/2015 Allison Riggs            1.5 Meeting           Interviewing potential witness John Burns; travel to meeting
10/29/2015 Allison Riggs            1.5 Meeting           Interviewing potential witness Dan Blue; travel from meeting
10/30/2015 Allison Riggs            0.5 Email to          Follow up for Amy Womble; gathering maps, stats
10/30/2015 Allison Riggs            1.5 Review            Review and provide feedback on draft Fairfax report
 11/1/2015 Allison Riggs            0.5 Review            Review and provide feedback on later draft Fairfax report
 11/1/2015 Allison Riggs           1.25 Call              phone call with Jowei Chen about report
 11/6/2015 Allison Riggs            2.5 Legal Research    Opposition to Motion to Quash Subpoenas
 11/9/2015 Allison Riggs           5.67 Draft             Opposition to Motion to Quash Subpoenas
11/10/2015 Allison Riggs            1.5 Meeting           Interviewing potential witness Greg Flynn
11/10/2015 Allison Riggs            1.5 Meeting           Interviewing potential witness Caroline Sullivan
11/10/2015 Allison Riggs           0.75 Draft             Pre‐trial brief
11/10/2015 Allison Riggs              3 Legal Research    Opposition to Motion to Quash Subpoenas
11/10/2015 Allison Riggs            3.5 Draft             Opposition to Motion to Quash Subpoenas

11/10/2015 Allison Riggs           1.27 Edit              Revise and incorporate edits to Opposition to Motion to Quash Subpoenas
11/11/2015 Allison Riggs           2.25 Meeting           Interviewing potential witness James West; travel to meeting
11/11/2015 Allison Riggs           1.17 Call              Phone interview with potential witness Bill Fletcher
11/13/2016 Allison Riggs              1 Review            Transcript from 3/5 and 3/10 hearing on SB 181
11/16/2016 Allison Riggs              3 Review            Transcripts from 2013 hearings on SB 325
11/16/2016 Allison Riggs            1.5 Review            Transcritps from 3/11 and 3/12 hearing on SB 181, jot down notes
11/30/2015 Allison Riggs              4 Draft             Exhibit list, assemble exhibits
 12/1/2015 Allison Riggs           2.25 Meeting           w/ paralegal Shannon Christian about support needs for RWCA trial
 12/2/2015 Allison Riggs           3.33 Meeting           w/ paralegal Shannon Christian about exhibits for RWCA trial
 12/3/2015 Allison Riggs            4.5 Analyze           School base attendance maps compared to district maps
 12/3/2015 Allison Riggs              3 Legal Research    Pre‐trial Brief and Conclusions of Law
 12/4/2015 Allison Riggs           2.25 Meeting           w/ Jannet Barnes to prepare for trial testimony
 12/4/2015 Allison Riggs           1.33 Draft             Draft trial witness schedule; assignment of attorneys to witnesses


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 12/4/2015 Allison Riggs            0.5 Draft            Trial witness list for Ds
 12/4/2015 Allison Riggs           2.67 Draft            Pre‐trial order
 12/5/2015 Allison Riggs           1.25 Draft            Pre‐trial order
 12/5/2015 Allison Riggs           5.25 Draft            Pre‐trial Brief
 12/5/2015 Allison Riggs           6.25 Draft            Pre‐Trial FoF/CoL
 12/6/2015 Allison Riggs              9 Draft            Pre‐trial Brief
 12/6/2015 Allison Riggs           1.67 Prepare          Find missing exhibits for exhibit notebook compilation
 12/6/2015 Allison Riggs           0.33 Edit             Exhibit list
 12/6/2015 Allison Riggs              1 Call             Phone interview w/ potential witness Gerry Cohen
 12/6/2015 Allison Riggs              1 Call             Phone interview w/ potential witness Perry Woods
 12/7/2015 Allison Riggs           3.75 Draft            Pre‐Trial FoF/CoL
 12/7/2015 Allison Riggs              2 Edit             Revise and incorporate edits to pre‐trial brief
 12/7/2015 Allison Riggs           2.83 Edit             Revise and incorporate edits to FoF/CoL
 12/7/2015 Allison Riggs            0.5 File             Pre‐trial brief; Pre‐trial CoL/FoF; appendices
 12/8/2015 Allison Riggs           0.75 Review           Ds Pretrial Brief
 12/8/2015 Allison Riggs            3.5 Legal Research   For Pre‐Trial Response Brief
 12/8/2015 Allison Riggs              7 Draft            Pre‐Trial Response Brief
 12/9/2015 Allison Riggs              2 Legal Research   Pre‐Trial Response Brief
 12/9/2015 Allison Riggs              8 Draft            Pre‐Trial Response Brief
 12/9/2015 Allison Riggs           2.17 Edit             edit Pre‐Trial Response Brief; incorporate edits; file
12/10/2016 Allison Riggs            2.5 Attend           PreTrial Conference
12/10/2015 Allison Riggs           1.25 Meeting          Trial team meeting; prep to‐do list for
12/10/2015 Allison Riggs           0.75 Review           Review and edit Joint Stips
12/10/2015 Allison Riggs            1.5 Meeting          witness prep with John Burns
12/10/2015 Allison Riggs              1 Draft            Blue outline examination
12/11/2015 Allison Riggs           1.66 Meeting          witness prep with Dan Blue
12/11/2015 Allison Riggs           1.75 Draft            Burns outline examination
12/11/2015 Allison Riggs              3 Meeting          witness prep with Amy Womble
12/11/2015 Allison Riggs              1 Meeting          W/ Fred re: demonstratives for Womble testimony
12/12/2015 Allison Riggs           2.17 Meeting          w/ trial witness Bill Fletcher
12/12/2015 Allison Riggs           1.25 Draft            Trial Prep Supplies and Tasks List
12/12/2015 Allison Riggs           0.75 Call             w/ Amy Womble about testimony
12/12/2015 Allison Riggs            1.5 Draft            Barnes examination outline
12/13/2015 Allison Riggs           2.25 Meeting          Working with Kinkos staff on demonstratives


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12/13/2015 Allison Riggs           2.33 Draft          Fletcher examination outline
12/13/2015 Allison Riggs           2.25 Edit           Edit the Kushner/Jackson examination outlines for George
12/13/2015 Allison Riggs           1.83 Draft          West examination outline
12/14/2015 Allison Riggs              6 Prepare        Trial prep; witness prep
12/14/2015 Allison Riggs           1.25 Edit           Revisions and additions to joint stips
12/14/2015 Allison Riggs           0.83 Edit           Edit the Jensen outline for George
12/14/2015 Allison Riggs           5.16 Prepare        Trial prep; opening argument
                                                       Revisions to trial exhibit list and correspondence w/ opposing counsel
12/15/2015 Allison Riggs           0.83 Edit           about the same
12/15/2015 Allison Riggs           7.25 Prepare        Trial prep; packing up materials; witness prep
12/15/2015 Allison Riggs           6.66 Prepare        Trial prep; exhibit binders; opening argument
12/16/2015 Allison Riggs              1 Prepare        final prep and review for opening argument
12/16/2015 Allison Riggs              9 Attend         first day of trial
                                                       updating exhibit list; reviewing late disclosed legislative production; prep
12/16/2015 Allison Riggs           4.75 Prepare        for witnesses on 2nd day of trial
12/17/2015 Allison Riggs              6 Attend         second day of trial


                                                       Research for closing arguments; powerpoint for closing arguments;
12/17/2015 Allison Riggs           6.25 Prepare        practice closing arguments; final exhibit list and additions to notebook
12/18/2015 Allison Riggs               1 Meeting       final prep for closing arguments
12/18/2015 Allison Riggs               2 Prepare       third day of trial
 1/29/2016 Allison Riggs               1 Review        Reviewing late produced discovery from legislators
 2/26/2016 Allison Riggs           2.25 Review         RWCA decision from D/C
 2/26/2016 Allison Riggs               1 Prepare       Attempts to convert decision into email‐able size for clients
 2/26/2016 Allison Riggs           1.25 Call           Talk with individual clients about decision
 2/27/2016 Allison Riggs           0.75 Call           Talk with individual clients about decision
  3/2/2016 Allison Riggs             0.5 Conf Call     Talk with all clients about decision
  3/2/2016 Allison Riggs          1.166 Meet           Litigation team meeting about decision and next steps
  3/3/2016 Allison Riggs           0.25 Call           Update individual client on decision
  3/8/2016 Allison Riggs          0.166 Email          To expert (Chen) re: D/C decision
                                                       Review Emily's research on consolidation on appeal and filing order; email
  3/9/2016 Allison Riggs            0.5 Review         to Anita about same
  3/9/2016 Allison Riggs           0.33 Review         Review Emily's draft issues on appeal
 3/10/2016 Allison Riggs           0.33 Call           Update expert on D/C decision


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                                                        Draft consolidation motions, corporate disclosures, docketing statements,
3/28/2016 Allison Riggs           1.25 Review           notice of constitutional challenges
3/28/2016 Allison Riggs           0.75 Edit             Editing motion to expedite appeal
3/28/2016 Allison Riggs           0.25 Call             W/opposing counsel re: motion to expedite (voicemail + returned call)
3/28/2016 Allison Riggs           0.17 File             Draft and file notice of appearance
 4/5/2016 Allison Riggs              2 Legal Research   Legal research for opening brief
 4/6/2016 Allison Riggs            5.5 Draft            Draft Appellants Opening Brief
 4/6/2016 Allison Riggs            0.1 Email            Setting up conference call re JA
 4/7/2016 Allison Riggs           0.75 Meet             meet w/Emily about assembling JA
 4/8/2016 Allison Riggs           6.33 Draft            Draft Appellants Opening Brief
 4/8/2016 Allison Riggs              3 Legal Research   Legal research for opening brief
 4/8/2016 Allison Riggs           0.33 Conf Call        Prep for and call w/Opposing counsel re JA
 4/9/2016 Allison Riggs           8.75 Draft            Draft Appellants Opening Brief
 4/9/2016 Allison Riggs              5 Legal Research   Legal research for opening brief
4/10/2016 Allison Riggs           7.75 Draft            Draft Appellants Opening Brief
4/10/2016 Allison Riggs            1.1 Review           Review draft JA List, track down missing documents
4/11/2016 Allison Riggs           1.33 Edit             Editing opening brief
4/12/2016 Allison Riggs           3.25 Draft            revising summary of argument for opening brief; further editing
4/13/2016 Allison Riggs           1.67 Edit             Incorporating Anita's edits to brief; my own further editing
4/13/2016 Allison Riggs           1.25 Review           Finalizing Joint Appendix
4/14/2016 Allison Riggs            1.5 Edit             Page proofing for brief; filling in missing citations
4/15/2016 Allison Riggs           1.25 Edit             final page proofing for opening brief
4/25/2016 Allison Riggs           1.33 Review           Reading Appellees's Brief
4/26/2016 Allison Riggs           1.33 Draft            Outlining notes and thoughts for reply brief
4/29/2016 Allison Riggs            2.5 Draft            Racial predominance section of reply brief
4/29/2016 Allison Riggs              3 Edit             Reply brief edits and page proofing
 5/5/2016 Allison Riggs           1.25 Draft            Oral argument piece on racial gerrymandering
 5/5/2016 Allison Riggs            1.5 Meeting          Internal moot for Fourth Circuit argument
 5/8/2016 Allison Riggs           0.17 Email to         Correspondence with clients on oral argument
 5/8/2016 Allison Riggs           2.75 Travel           Travel to Richmond
 5/8/2016 Allison Riggs              4 Prepare          Prepare for oral argument
 5/9/2016 Allison Riggs           4.25 Prepare          Prepare for oral argument
 5/9/2016 Allison Riggs            0.6 Prepare          Check on panel assignment at court
 5/9/2016 Allison Riggs              2 Argument         Oral argument in front of Fourth Circuit


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 5/9/2016 Allison Riggs           0.75 Meet              Debrief with clients on oral argument
 5/9/2016 Allison Riggs           2.75 Travel            Travel back from Richmond
5/31/2016 Allison Riggs           0.25 Review            Court's request for exhibit
5/31/2016 Allison Riggs           0.75 Research          Find exhibit and pull for court
 6/2/2016 Allison Riggs          0.166 Edit              Edit responses to Court's request for exhibit
 7/1/2016 Allison Riggs           1.25 Review            Read Fourth Circuit opinion
 7/1/2016 Allison Riggs             1.5 Confer           Discuss Fourth Circuit opinion w/ clients
 7/7/2016 Allison Riggs           1.25 Legal Research    Filing for taxable costs and non‐taxable costs
 7/8/2016 Allison Riggs             2.5 Legal Research   Attorney's fees application
                                                         compile time records and review financial records for attorney's fees
 7/8/2016 Allison Riggs              5 Prepare           application
 7/8/2016 Allison Riggs              1 Review            Order from District Court on remedy
7/11/2016 Allison Riggs            0.5 Telephone Call    to potential declarants in support of remedy brief
7/11/2016 Allison Riggs           0.25 Telephone Call    w/ Gerry Hebert about declaration in support of fees
7/11/2016 Allison Riggs           1.75 Draft             Draft Hebert's declaration based on his opinions conveyed by phone
                                                         telephone call and follow up emails w/ Eddie Speas about declaration in
7/12/2016 Allison Riggs           0.33 Telephone Call    support

7/12/2016 Allison Riggs            1.5 Draft             initial draft of Speas declaration based on information conveyed via phone
7/14/2016 Allison Riggs           0.25 Meeting           W/Earls and Seawell on Petition for Rehearing about to be filed
7/14/2016 Allison Riggs           1.25 Legal Research    on remedy for briefing to district court
7/14/2016 Allison Riggs            2.5 Legal Research    on legislators motion to intervene in appellate stage
7/14/2016 Allison Riggs              1 Legal Research    on legislative standing for intervention
7/15/2016 Allison Riggs            6.5 Draft             Opposition to Motion to Intervene in 4th Cir
7/18/2016 Allison Riggs           1.17 Edit              Response to DC's 7 8 16 order
7/18/2016 Allison Riggs              2 Draft             Finish drafting opposition to motion to intervene
7/18/2016 Allison Riggs           1.75 Edits             editing the opposition to motion to intervene
7/26/2016 Allison Riggs            0.5 Draft             RWCA press release
7/29/2016 Allison Riggs              1 Legal Research    on standards for writ of prohibition in 4th Cir
 8/3/2016 Allison Riggs            0.5 Travel            to Raleigh for hearing on remedy
 8/3/2016 Allison Riggs            1.5 Attend            prepare for and attend hearing in front of Dever on remedy
 8/3/2016 Allison Riggs            0.5 Meeting           confer with clients after hearing
 8/3/2016 Allison Riggs            0.5 Travel            Travel back to Durham after hearing
 8/5/2016 Allison Riggs              7 Draft             Memo in support of motion to strike alternate map


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                                                            w/ Joseph Fedrowitz about a declaration re: implementation of different
     8/8/2016 Allison Riggs           0.75 Telephone Call   remedial options
     8/8/2016 Allison Riggs              1 Draft            declaration of Joseph Fedrowitz
    8/15/2016 Allison Riggs            0.5 Telephone Call   w/ RWCA client re: remedy
    8/17/2016 Allison Riggs           1.67 Research         rules on appellate bill of costs
    8/17/2016 Allison Riggs            2.5 Draft            Fourth Circuit bill of costs
    8/17/2016 Allison Riggs            1.5 Prepare          supporting documents for 4th Cir bill of costs
    8/18/2016 Allison Riggs            0.5 Conf Call        w/clients
    8/18/2016 Allison Riggs           0.75 Travel           to Raleigh for RWCA meeting
    8/18/2016 Allison Riggs            1.5 Meeting          w/RWCA clients
    8/18/2016 Allison Riggs           0.75 Travel           to Raleigh for RWCA meeting
    8/19/2016 Allison Riggs           0.75 Review           8/19 letter from Shannon Joseph
    8/19/2016 Allison Riggs           0.75 Telephone Call   w/ Marshall about Sullivan letter
    8/21/2016 Allison Riggs            0.5 Telephone Call   w/clients
    8/22/2016 Allison Riggs              1 Telephone Call   w/ client about remedy situation
    8/22/2016 Allison Riggs           1.25 Telephone Call   w/ group of clients about remedy situation
    8/22/2016 Allison Riggs            0.5 Email to         Anita updating her on case developments
    8/22/2016 Allison Riggs            0.5 Telephone Call   w/ Marshall about Sullivan motion
    8/22/2016 Allison Riggs           0.66 Email to         Clients w/ update
    10/4/2016 Allison Riggs            3.5 Prepare          expense records for fees petition
                                                            Assemble George, Emily and my time records for prep for meeting w/
    10/4/2016 Allison Riggs           0.75 Prepare          Marshall
    10/5/2016 Allison Riggs              1 Meeting          W/ Charles Marshall about fees petition
   11/16/2016 Allison Riggs           0.25 Telephone Call   and follow up email re: Crowell affidavit in support of fees
                                                            Draft initial version of Crowell declaration and send to him for his
   11/18/2016 Allison Riggs              1 Draft            additions/edits
   11/18/2016 Allison Riggs           0.33 Finalize         Hebert declaration and send to him
   11/20/2016 Allison Riggs            0.5 Finalize         Speas declaration and send to him

   11/22/2016 Allison Riggs            4.5 Draft            District Court Bill of Costs, AJR affidavit in support, and memo in support
   11/23/2016 Allison Riggs            2.5 Draft            Riggs declaration in support of fees application

RWCA/Wright Subtotal                389.11



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                                               RWCA/Wright Time Records ‐ Emily Seawell

Date             Case        Work description                                                                                 Hours
        3/5/2015 RWCA        Attended legislative committee hearing on SB181                                                           0.5
       3/10/2015 RWCA        Attended legislative committee hearing on SB181                                                           0.5
       3/11/2015 RWCA        Listened to and took notes on legislative floor debate on SB181                                           0.5
       3/12/2015 RWCA        Listened to and took notes on legislative floor debate on SB181                                          0.33
       3/23/2015 RWCA        Drafted bill analysis for SB181                                                                             1
       3/31/2015 RWCA        Updated bill analysis for SB181                                                                           0.5
       3/31/2015 RWCA        Attended legislative committee hearing on SB181                                                             1
        4/1/2015 RWCA        Listened to legislative floor debate on SB181                                                            0.75
        4/2/2015 RWCA        Tracked bill status for SB181                                                                             0.5
        4/9/2015 RWCA        Read and made suggestions for draft complaint in RWCA                                                    0.75
       6/10/2015 Wright      Read petition for rehearing                                                                              0.33
       6/17/2015 Wright      Read order requiring response to petition for rehearing                                                  0.08
       6/24/2015 Wright      Researched and drafted language for proposition that State may not file a response to petition              2
       6/25/2015 Wright      Researched and drafted language for proposition that State may not file a response to petition              2
       6/29/2015 Wright      Cite checked and edited response to petition for rehearing                                                  4
       6/29/2015 Wright      Read State's response to petition for rehearing                                                          0.33
       6/29/2015 Wright      Researched Fourth Circuit local rules on formatting of petitions for rehearing                           0.33
       7/16/2015 Wright      Read Fourth Circuit order on petition for rehearing                                                      0.08
        8/3/2015 RWCA        Read Defendant's Answer                                                                                  0.25

       9/11/2015 Both        Participated in call with defense counsel about 26(f) plan                                               0.75
       9/11/2015 Both        Edited draft 26(f) reports                                                                                0.5
       9/14/2015 Both        Edited draft 26(f) reports                                                                               0.25
       9/16/2015 Both        Participated in call with defense counsel about 26(f) plan                                                0.5
       9/18/2015 Both        Reviewed revised 26(f) report                                                                            0.25
       9/24/2015 Both        Drafted initial disclosures                                                                               0.5
       9/25/2015 Both        Served initial disclosures on defense counsel                                                            0.17
       9/25/2015 Both        Read Defendant's initial disclosures                                                                     0.17
       9/30/2015 Both        Emails regarding submitted 26(f) reports                                                                 0.17
       9/30/2015 Both        Read court order re: scheduling conference                                                               0.08
       9/30/2015 Both        Emailed clients regarding client call                                                                    0.25
       9/30/2015 Both        Client call                                                                                              0.75



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 10/1/2015 Both      Printed and compiled pleadings notebook for scheduling conference                      0.5
 10/1/2015 Both      Attended scheduling conference                                                           1
 10/5/2015 Both      Read correspondence re: exit polling                                                  0.08
10/11/2015 Both      Call with Jowei Chen                                                                   0.5
10/13/2015 Both      Arranged conference space for witness interviews                                      0.33
10/13/2015 Both      Arranged interview with Rosa Gill                                                     0.17
10/13/2015 Both      Arranged interview with Josh Stein                                                    0.17
10/13/2015 Both      Researched and drafted documents on legislative testimony and past election results      4
10/14/2015 Both      Drafted subpoenas for legislators and staff                                              2
10/15/2015 Both      Arranged interview with Rosa Gill                                                     0.17
10/15/2015 Both      Arranged interview with Tom Jensen                                                    0.17
10/15/2015 Both      Arranged interview with Darren Jackson                                                0.17
10/15/2015 Both      Arranged interview with Yevonne Brannon                                               0.17
10/15/2015 Both      Arranged interview with Amy Womble                                                    0.17
10/15/2015 Both      Drafted subpoenas and researched rules on service                                        1
10/15/2015 Both      Emailed legislative counsel re: serving subpoenas                                     0.25
10/16/2015 Both      Emails re: witness interview schedule and supporting documents                        0.17
10/16/2015 Both      Compiled and printed supporting documents for witness interviews                         2
10/16/2015 Both      Witness interviews                                                                       6
10/16/2015 Both      Meeting with Fred McBride re: alternate maps                                          0.17
10/16/2015 Both      Arranged interview with Tom Jensen                                                    0.17
10/16/2015 Both      Arranged interview with Brian Fitzsimmons                                             0.17
10/16/2015 Both      Arranged interview with Earl Johnson                                                  0.17
10/16/2015 Both      Arranged interview with Yevonne Brannon                                               0.17
10/19/2015 Both      Emails re: witness interview schedule and supporting documents                        0.25
10/19/2015 Both      Arranged interview with John Burns                                                    0.17
10/19/2015 Both      Arranged interview with James West                                                    0.17
10/19/2015 Both      Arranged interview with Josh Stein                                                    0.17
10/19/2015 Both      Arranged interview with Tom Oxholm                                                    0.17
10/19/2015 Both      Emailed legislative counsel re: serving subpoenas                                     0.25
10/20/2015 Both      Emailed legislative counsel re: serving subpoenas                                     0.25
10/20/2015 Both      Emails re: witness interview schedule and supporting documents                        0.25
10/20/2015 Both      Compiled and printed supporting documents for witness interviews                         2
10/20/2015 Both      Researched requirements for service of subpoenas and updated legislative subpoenas       1
10/20/2015 Both      Requested audio recordings of legislative debate on SB325 and SB181                      1



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10/20/2015 Both        Arranged interview with Josh Stein                                                                 0.17
10/20/2015 Both        Arranged interview with Dan Blue                                                                   0.17
10/20/2015 Both        Arranged interview with Grier Martin                                                               0.17
10/20/2015 Both        Attended witness interviews                                                                           3
10/21/2015 Both        Arranged interview with Grier Martin                                                               0.17
10/21/2015 Both        Arranged interview with Dan Blue                                                                   0.17
10/21/2015 Both        Typed and emailed notes from Rosa Gill interview                                                    0.5
10/21/2015 Both        Compiled and printed supporting documents for witness interviews                                      2
10/21/2015 Both        Compiled timeline for expert witness use                                                              1
10/21/2015 Both        Served subpoenas on legislative counsel and mailed to legislative staff                             1.5
10/21/2015 Wright      Read Complaint                                                                                     0.75
10/21/2015 Wright      Read order on motion to dismiss                                                                    0.75
10/21/2015 Wright      Read Fourth Circuit opinion                                                                        0.75
10/22/2015 Both        Arranged conference space for witness interviews                                                   0.33
10/23/2015 Both        Arranged interview with John Burns                                                                 0.17
10/23/2015 Both        Arranged interview with Caroline Sullivan                                                          0.17
10/23/2015 Both        Arranged interview with James West                                                                 0.17
10/23/2015 Both        Arranged interview with Bill Fletcher                                                              0.17
10/27/2015 Both        Arranged interview with Amy Womble                                                                 0.17
10/27/2015 Both        Arranged conference space for witness interviews                                                   0.25
10/28/2015 Both        Arranged conference space for witness interviews                                                   0.25
10/29/2015 Both        Read draft expert report                                                                            0.5
10/30/2015 Both        Emailed legislative counsel re: subpoena service and letters filed with the court                  0.25
10/30/2015 Both        Served corrected subpoena on legislative counsel                                                      1
10/30/2015 Both        Picked up audio recordings and pulled committee notes from legislative debate on SB325 and SB181      2
10/30/2015 Both        Listened to and took notes on legislative debate recordings                                           4
10/30/2015 Both        Updated timeline                                                                                   0.25
 11/2/2015 Both        Arranged meeting with Tom Oxholm                                                                   0.17
 11/2/2015 Both        Arranged meeting with Gerry Cohen                                                                  0.17
 11/2/2015 Both        Drafted RFPs for Gary Sims                                                                         0.75
 11/2/2015 Both        Listened to and took notes on legislative debate recordings                                           4
 11/3/2015 Both        Listened to and took notes on legislative debate recordings                                           2
 11/3/2015 Both        Requested transcripts of legislative debates on SB325 and SB181                                    0.75
 11/4/2015 Both        Emails re: transcripts of legislative debates on SB325 and SB181                                   0.25
 11/4/2015 Both        Read motion to quash legislative subpoenas                                                          0.5



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 11/4/2015 Both      Emailed legislative counsel re: public records request                                             0.25
 11/4/2015 Both      Arranged interview with James West                                                                 0.17
 11/4/2015 Both      Arranged interview with Tom Oxholm                                                                 0.17
 11/4/2015 Both      Arranged interview with Bill Fletcher                                                              0.17
 11/4/2015 Both      Arranged interview with Gerry Cohen                                                                0.17
 11/4/2015 Both      Arranged interview with Harvey Schmitt                                                             0.17
 11/4/2015 Both      Acquired Womble map of split municipalities                                                        0.33
 11/5/2015 Both      Searched legislative transcripts and compiled relevant testimony for potential witness outreach       1
 11/5/2015 Both      Researched elected officials in Wake municipalities for potential witness outreach                 0.75
 11/5/2015 Both      Coordinated intern project to compile news articles related to SB181 and SB325                     0.25
 11/5/2015 Both      Arranged interview with Caroline Sullivan                                                          0.17
 11/5/2015 Both      Arranged interview with Gerry Cohen                                                                0.17
 11/5/2015 Both      Arranged interview with Greg Flynn                                                                 0.17
 11/5/2015 Both      Arranged interview with Dustin Ingalls                                                             0.17
 11/5/2015 Both      Arranged conference space for witness interviews                                                   0.25
 11/6/2015 Both      Arranged interview with Bill Fletcher                                                              0.17
 11/9/2015 Both      Arranged interview with Dustin Ingalls                                                             0.17
11/10/2015 Both      Arranged interview with Greg Flynn                                                                 0.17
11/10/2015 Both      Arranged interview with James West                                                                 0.17
11/10/2015 Both      Emails re: transcripts of legislative debates on SB325 and SB181                                    0.5
11/10/2015 Both      Emailed legislative counsel re: public records request                                             0.17
11/10/2015 Both      Researched local rules for citations to unpublished authority                                       0.5
11/10/2015 Both      Cite checked and edited response to motion to quash, and compiled exhibits                            2
11/11/2015 Both      Attended witness interviews                                                                           4
11/11/2015 Both      Requested audio recordings of committee meetings on SB325 and SB181                                   1
11/12/2015 Both      Requested audio recordings of committee meetings on SB325 and SB181                                0.33
11/12/2015 Both      Read draft of pre‐trial brief                                                                         2
11/13/2015 Both      Picked up audio recordings of committee meetings on SB325 and SB181                                   1
11/13/2015 Both      Call with defense counsel                                                                          0.75
11/13/2015 Both      Drafted amended initial disclosures and suppplemental disclosures, and served on defense counsel      2
11/16/2015 Both      Read Defendant's RFP responses and amended disclosures                                              0.5
11/16/2015 Both      Reviewed search terms for RFPs and suggested additions                                             0.33
11/18/2015 Both      Requested audio recordings of committee meetings on SB325 and SB181                                0.25
11/19/2015 Both      Requested audio recordings of committee meetings on SB325 and SB181                                0.25
11/25/2015 Both      Researched and pulled demographic reports for Wake County                                          0.75



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11/30/2015 Both      Trial team meeting re: roles and responsibilities                                        1
11/30/2015 Both      Arranged interview with Jannet Barnes                                                 0.17
11/30/2015 Both      Arranged interview with Beverley Clark                                                0.17
11/30/2015 Both      Emails re: transcripts of legislative debates on SB325 and SB181                       0.5
11/30/2015 Both      Edited witness list                                                                   0.25
11/30/2015 Both      Read case management order                                                            0.17
11/30/2015 Both      Researched date of legislative press release re: SB181                                 0.5
11/30/2015 Both      Reviewed legislative document production                                                 2
 12/1/2015 Both      Excerpted transcripts received from legislature for expert witness use                   1
 12/1/2015 Both      Emails re: subpoenas and legislator comments in the media                             0.17
 12/1/2015 Both      Correspondence with school board counsel to acquire base attendance maps               0.5
 12/2/2015 Both      Organizing exhibits                                                                    0.5
 12/2/2015 Both      Emails re: witness contact information                                                0.33
 12/2/2015 Both      Drafted trial subpoenas for witnesses                                                  0.5
 12/3/2015 Both      Coordinated paralegal calls to arrange witness interviews                             0.25
 12/3/2015 Both      Correspondence with school board counsel to acquire base attendance maps              0.25
 12/3/2015 Both      Drafted facts section for pretrial brief/FoF                                             8
 12/3/2015 Both      Drafted interview outline for Jannet Barnes                                              1
 12/3/2015 Both      Compiled and printed supporting documents for witness interviews                         1
 12/4/2015 Both      Interviewed Beverley Clark                                                               1
 12/4/2015 Both      Typed and emailed notes from Beverley Clark interview                                  0.5
 12/4/2015 Both      Reviewed witness list                                                                 0.25
 12/4/2015 Both      Reviewed draft trial schedule                                                         0.17
 12/4/2015 Both      Attempted to locate missing exhibits                                                   0.5
 12/5/2015 Both      Drafted pretrial FoF                                                                     8
 12/6/2015 Both      Cite checked and edited pretrial brief                                                   9
 12/7/2015 Both      Edited and added cites to pretrial brief                                                 4
 12/7/2015 Both      Added cites in pretrial FoF and CoL                                                      2
 12/7/2015 Both      Drafted joint stipulations of fact                                                       4
 12/7/2015 Both      Searched legislative transcripts for quotes relevant to racial gerrymandering claim   0.33
 12/7/2015 Both      Coordinated paralegal calls to arrange witness interviews                             0.25
 12/8/2015 Both      Drafted joint stipulations of fact                                                       6
 12/8/2015 Both      Researched previous maps for commission and school board                              0.75
 12/8/2015 Both      Edited and served subpoenas for school board witnesses                                   1
 12/8/2015 Both      Researched untimely disclosure of witnesses and prejudice                                1



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 12/9/2015 Both      Call with legislative counsel                                           0.5
 12/9/2015 Both      Compiled and printed supporting documents for witness interviews          2
 12/9/2015 Both      Emails re: previous and current maps for commission and school board   0.17
 12/9/2015 Both      Edited and served subpoenas for commission witnesses                    0.5
12/10/2015 Both      Updated draft of joint stipulations of fact                               2
12/10/2015 Both      Coordinated paralegal calls to arrange witness interviews              0.25
12/10/2015 Both      Trial team meeting re: roles and responsibilities                         1
12/10/2015 Both      Compiled and printed supporting documents for witness interviews          2
12/10/2015 Both      Attended final pretrial conference                                        1
12/10/2015 Both      Correspondence with Beverley Clark re: base attendance area maps       0.25
12/11/2015 Both      Email with court clerk re: exhibit list in Excel format                0.33
12/11/2015 Both      Emails re: legislative process timeline                                0.17
12/11/2015 Both      Research on legislative votes                                          0.25
12/11/2015 Both      Compiled and printed supporting documents for witness prep                2
12/12/2015 Both      Drafted timeline demonstratives for SB181 and SB325                       2
12/12/2015 Both      Research on county election methods                                       1
12/13/2015 Both      Emails re: witness contact information                                 0.33
12/14/2015 Both      Emails re: trial team contact information                              0.17
12/14/2015 Both      Reviewed legislative document production                                  2
12/14/2015 Both      Drafted and served subpoena on Darren Jackson                           0.5
12/14/2015 Both      Compiled and printed supporting documents for witness prep                2
12/14/2015 Both      Cite checked and edited first amended stipulations                        1
12/15/2015 Both      Reviewed legislative document production                                  1
12/15/2015 Both      Emails re: witness contact information                                 0.17
12/15/2015 Both      Emails re: exhibit numbers                                             0.33
12/15/2015 Both      Printing exhibits                                                       0.5
12/16/2015 Both      Attended trial and took notes                                             6
12/17/2015 Both      Attended trial and took notes                                             6
12/17/2015 Both      Responded to media request for copies of complaints                    0.25
12/17/2015 Both      Researched adverse inferences                                             1
12/17/2015 Both      Drafted slide on Arlington Heights factors                              1.5
12/18/2015 Both      Attended trial and took notes                                             2
12/21/2015 Both      Responded to witness interview inquiry                                 0.33

                     RWCA ONLY time                                                         6.58



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                    Wright ONLY time                                                                                       11.4
                    Consolidated Cases time                                                                              175.89

                    PRE‐BAR EXAM TOTAL                                                                                   193.87

2/29/2016 Both      Read district court opinion                                                                               4
 3/1/2016 Both      Email re: client call                                                                                   0.5
 3/2/2016 Both      Email re: client call                                                                                  0.17
 3/2/2016 Both      Client call                                                                                            0.75
 3/3/2016 Both      Drafted talking points for ciients                                                                     0.75
3/10/2016 Both      Drafted notices of appeal and docketing statements                                                        2
                    Drafted request to consolidate; legal research for the same; started drafting docketing statement;
3/23/2016 Both      call to clerk's office re: order of filing                                                               6
3/25/2016 Both      Drafted representation and corporate disclosure statements, and notice of constitutional challenge       3
                    Drafted Docketing Statements in Wright/RWCA; edited notice of constitutional challenge; drafted
                    notices of appearances; drafted corporate disclosure forms; drafted motion to expedite; edited
3/28/2016 Both      request to consolidate                                                                                   10
 4/7/2016 Both      Call with EDNC clerk's office re: file size of opinion                                                 0.33
 4/7/2016 Both      Call with printer re: file size of opinion                                                             0.17
 4/7/2015 Both      Drafted table of contents for JA                                                                          6
 4/7/2016 Both      Drafted oral argument acknowledgement form                                                                1
 4/8/2016 Both      Call with defense counsel                                                                               0.5
 4/8/2016 Both      Excerpted legislative transcripts and election results for JA                                             8
 4/8/2016 Both      Call with Fourth Circuit clerk re: oral argument acknowledgement form                                  0.17
 4/8/2016 Both      Updated oral argument acknowledgement form                                                             0.25
 4/9/2016 Both      Emails re: legislator questions about deviations                                                       0.33
 4/9/2016 Both      Emails re: Stam statements                                                                             0.33
4/10/2016 Both      Excerpted trial transcripts for JA                                                                       10
4/11/2016 Both      Email to defense counsel re: JA                                                                        0.25
4/11/2016 Both      Compiled JA                                                                                              10
4/12/2016 Both      Compiled JA                                                                                              16
4/13/2016 Both      Coordinated with printer re: JA and brief                                                               0.5
4/13/2016 Both      Coordinated with defense counsel re: JA                                                                0.33
4/13/2016 Both      Checked and added cites to appellants' brief                                                             18
4/14/2016 Both      Checked and added cites to appellants' brief                                                              6



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4/14/2016 Both      Compiled JA                                                                                           1
4/14/2016 Both      Coordinated with printer re: JA and brief                                                           0.5
4/14/2016 Both      Coordinated with defense counsel re: JA                                                            0.33
4/15/2016 Both      Coordinated with printer re: JA and brief                                                             1
4/25/2016 Both      Read appellees' brief                                                                              0.75
4/26/2016 Both      Made suggestions for reply brief                                                                   0.75
4/29/2016 Both      Helped draft, edited, and cite checked reply brief                                                  3.5
 5/6/2016 Both      Researched and drafted notes on remedy                                                                3
 5/7/2016 Both      Researched and drafted notes on remedy                                                                2
 5/8/2016 Both      Researched and drafted notes on remedy                                                                1
 5/8/2016 Both      Researched Fourth Circuit judges                                                                   0.25
 5/9/2016 Both      Travel to Richmond for oral argument                                                                2.5
 5/9/2016 Both      Attended oral argument                                                                              1.5
 5/9/2016 Both      Travel from Richmond after oral argument                                                            2.5
 6/1/2016 Both      Researched missing trial exhibit requested by Fourth Circuit                                        0.5
 6/2/2016 Both      Read and edited response to court's request                                                        0.33
 7/1/2016 Both      Read Fourth Circuit opinion                                                                           1
 7/6/2016 Both      Conference call with clients                                                                          1
 7/6/2016 Both      Researched requests for costs and fees in E.D.N.C. and Fourth Circuit                                 1
 7/7/2016 Both      Pulled and compiled time records to date in both cases, updated CV for inclusion in fee petition    1.5
7/11/2016 Both      Drafted motion for extention of time and proposed order                                               2
7/12/2016 Both      Researched attorney fees, expert fees, and litigation expenses in E.D.N.C. and Fourth Circuit         5
7/13/2016 Both      Met with trial team to discuss media strategy                                                      0.25
7/13/2016 Both      Coordinated intern research assignments for remedial briefing                                      0.33
7/14/2016 Both      Met with trial team to discuss response to legislators' motion to intervene                        0.25
7/14/2016 Both      Edited/helped write draft of motion to issue mandate                                                2.5
7/15/2016 Both      Read SBE letter on remedy                                                                           0.1
7/18/2016 Both      Filled in citations and edited remedial brief                                                       2.5
7/19/2016 Both      Filled in citations, edited, and filed response to motion to intervene                              4.5
 8/2/2016 Both      Emailed previous research on election history                                                       0.1
 8/2/2016 Both      Attended hearing on remedy                                                                            2
 8/2/2016 Both      Researched school board election dates and legislative history in 2013                             0.25
 8/3/2016 Both      Proofread post‐hearing memorandum                                                                   0.1
 8/4/2016 Both      Read court order on remedy                                                                          0.1
 8/4/2016 Both      Emailed Fred McBride plans submitted by legislators                                                 0.1



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  8/4/2016 Both      Spoke to two potential witnesses about providing affidavits on remedial maps                       0.75
  8/4/2016 Both      Coordinated intern research and drafting assignment on motion to strike                            0.66
  8/5/2016 Both      Met with Anita Earls about strategy for responding to remedial submissions                          0.1
  8/5/2016 Both      Drafted response to the Court's August 4 Order                                                        4
  8/5/2016 Both      Drafted part of memorandum in support of motion to strike                                             1
  8/5/2016 Both      Edited and filled in cites on response to August 4 Order and memo in support of motion to strike      4
  8/8/2016 Both      Called 4th Circuit clerk's office to inquire about procedures for filing writ                      0.33
  8/8/2016 Both      Drafted corporate disclosure statements to file with writ                                             1
  8/8/2016 Both      Edited and filled in cites on petition for writ                                                       2
  8/8/2016 Both      Emailed updated legislative map files to Fred McBride                                               0.1
  8/8/2016 Both      Searched trial record for information on precinct splits                                           0.25
  8/8/2016 Both      Researched 4th Circuit rules for expediting appeals and drafted fact section of memo in support       4
  8/9/2016 Both      Proofread amended petition for writ                                                                0.25
  8/9/2016 Both      Researched E.D.N.C. rules for extensions of time and proposed orders                                  2
 8/10/2016 Both      Rewrote motion for extension of time and proposed order                                               3
 8/11/2016 Both      Emailed with opposing counsel and updated consent motion for extension of time                      1.5
 8/12/2016 Both      Spoke with opposing counsel, updated consent motion for extension of time, and filed motion         0.5
 8/17/2016 Both      Researched 4th Circuit rules for filing bill of costs                                               0.5
 8/17/2016 Both      Proofread declaration in support of bill of costs                                                   0.1
 8/18/2016 Both      Read letter from proposed intervenor                                                               0.25
 8/19/2016 Both      Drafted talking points for potential media strategy                                                   2
 8/20/2016 Both      Drafted alternative talking points for potential media strategy                                       1
 8/22/2016 Both      Read Defendant's response to letter from proposed intervenor                                       0.25
 8/22/2016 Both      Read filings in support of intervention                                                             0.5
 8/23/2016 Both      Searched Plaintiffs' remedial filings for information on reverting to prior election method         0.5
 8/25/2016 Both      Read court order denying intervention                                                              0.25
 9/22/2016 Both      Researched attorney fees, expert fees, and litigation expenses in E.D.N.C. and Fourth Circuit         2
 9/23/2016 Both      Researched attorney fees, expert fees, and litigation expenses in E.D.N.C. and Fourth Circuit         3
 9/26/2016 Both      Researched and drafted petition for attorney fees and costs                                           4
 9/27/2016 Both      Researched and drafted petition for attorney fees and costs                                           3
 10/3/2016 Both      Researched and drafted petition for attorney fees and costs                                           7
 10/4/2016 Both      Drafted petition for attorney fees and costs                                                          2
 10/5/2016 Both      Pulled and compiled time records to date in both cases                                                1
11/13/2016 Both      Drafted fee petition                                                                                1.5
11/14/2016 Both      Drafted fee petition                                                                                  3



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11/21/2016 Both      Collected materials for fee petition and supporting documentation                                              1
11/22/2016 Both      Drafted internal declaration in support of fee petition                                                      1.5
11/23/2016 Both      Edited, filled in cites and missing figures, and proofread fee petition; collected supporting materials        9

                     POST BAR EXAM TOTAL                                                                                       145.74

                     Total Hours Spent                                                                                         339.61




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George Eppsteiner Time Records ‐ RWCA/Wright
Case                 Hours       User               Time Date      DOW   Task        Description
                                                                                     Trial prep including identifying witnesses and
Wright/RWCA                0.6 Eppsteiner, George        12/4/2015 Fri   Analyze     finalizing same.
                                                                                     Preparation for trial including begin prep for
                                                                                     Kushner, Jackson, Jensen, and Fitzsimmons trial
Wright/RWCA                0.8 Eppsteiner, George        12/7/2015 Mon   Analyze     witnesses.
                                                                                     Review numerous correspondence from opposing
Wright/RWCA                0.5 Eppsteiner, George        12/7/2015 Mon   email to    counsel regarding pretrial order.
                                                                                     Call with Christine Kushner regarding testifying at
Wright/RWCA                0.4 Eppsteiner, George        12/8/2015 Tue   Conf Call   trial.
                                                                                     Call with Representative Jackson regarding
Wright/RWCA                0.3 Eppsteiner, George        12/8/2015 Tue   Conf Call   testifying at trial.
                                                                                     Begin drafting outlines for witness testimony and
Wright/RWCA                2.5 Eppsteiner, George        12/9/2015 Wed   Analyze     trial preparation.

Wright/RWCA                0.4 Eppsteiner, George        12/9/2015 Wed   Conf Call  Call with client and trial prep regarding same.
                                                                                    Trial preparation including analysis of witnesses to
                                                                                    testify and exhibits to use for witnesses and zoom
Wright/RWCA                1.5 Eppsteiner, George       12/10/2015 Thu   Analyze    mapping analysis.
                                                                                    Review legislative transcripts in preparaiton for
Wright/RWCA                  1 Eppsteiner, George       12/10/2015 Thu   Analyze    trial.
Wright/RWCA                0.5 Eppsteiner, George       12/11/2015 Fri   Analyze    Preparation for trial witness meetings.
Wright/RWCA                2.6 Eppsteiner, George       12/11/2015 Fri   Analyze    Preparation for Jackson testimony.
                                                                                    Preparation for trial including begin question
Wright/RWCA                10 Eppsteiner, George        12/12/2015 Sat   Witness preoutlines for Jackson and Kushner.
                                                                                    Trial preparation including Fitzsimmons and Jensen
Wright/RWCA                  4 Eppsteiner, George       12/13/2015 Sun   Prepare outlines.
                                                                                    Meetings with Representative Jackson and
Wright/RWCA                  6 Eppsteiner, George       12/14/2015 Mon   Attend     Kushner in prep for trial.
                                                                                    preparation for trial including Fitzsimmons
                                                                                    meeting, preparation of witness questions and
Wright/RWCA                5.5 Eppsteiner, George       12/14/2015 Mon   Attend     exhibits.




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                                                                    Continued trial prep including finalize questions
                                                                    and exhibits for Jackson, Jensen, Fitzsimmons, and
Wright/RWCA   7.5 Eppsteiner, George     12/15/2015 Tue   Prepare   Kushner testimony.
                                                                    Preparation for trial including review legislative
Wright/RWCA    6 Eppsteiner, George      12/15/2015 Tue   Prepare   produced documents.
Wright/RWCA    2 Eppsteiner, George      12/16/2015 Wed   Analyze   Preparation for morning witnesses.
Wright/RWCA    4 Eppsteiner, George      12/16/2015 Wed   Attend    Attend first day of trial.
                                                                    Preparation for day 2 of trial including preparation
Wright/RWCA     2 Eppsteiner, George     12/16/2015 Wed   Analyze   evidentiary objecitons memo.
Wright/RWCA     4 Eppsteiner, George     12/16/2015 Wed   Attend    Attend first day of trial.
Wright/RWCA   2.2 Eppsteiner, George     12/16/2015 Wed   Prepare   Prepare for expert witness testimony.
Wright/RWCA   1.5 Eppsteiner, George     12/17/2015 Thu   Prepare   Morning preparation for trial.
Wright/RWCA   2.5 Eppsteiner, George     12/17/2015 Thu   Attend    Attend day 2 of trial.
                                                                    Prepare for closing arguments including draft
Wright/RWCA     4 Eppsteiner, George     12/17/2015 Thu   Draft     memo on 5% deviation jurisdictions.
Wright/RWCA   2.5 Eppsteiner, George     12/17/2015 Thu   Attend    Attend day 2 of trial.
                                                                    Continue preparation for closing arguments
                                                                    including continued drafting of memo on 5%
Wright/RWCA    4 Eppsteiner, George      12/17/2015 Thu   Draft     deviation jurisdictions.
                                                                    Morning preparation for closing argument
Wright/RWCA    1 Eppsteiner, George      12/18/2015 Fri   Attend    including closing meeting.
Wright/RWCA    1 Eppsteiner, George      12/18/2015 Fri   Attend    Attend Plaintiffs closing argument.
                                                                    Morning preparation for trial including discussion
Wright/RWCA     1 Eppsteiner, George     12/18/2015 Fri   Attend    of closing argument strategy.
Wright/RWCA   0.2 Eppsteiner, George      3/28/2016 Mon   Draft     File notice of appearance for appeal.
Wright/RWCA   0.3 Eppsteiner, George      3/28/2016 Mon   Draft     Edits to appellate documents.
Wright/RWCA   0.4 Eppsteiner, George       4/6/2016 Wed   Analyze   Begin preparing appellate brief.
                                                                    Analyze appellate filings including motion to
                                                                    expedite, granting of motion to expedite, briefing
Wright/RWCA   0.4 Eppsteiner, George       4/6/2016 Wed   Attend    schedule.

Wright/RWCA   7.5 Eppsteiner, George       4/9/2016 Sat   Draft     Draft racial gerrymander section of appellate brief.
Wright/RWCA     1 Eppsteiner, George      4/21/2016 Thu   Analyze   Analyze appellate filings.
Wright/RWCA     1 Eppsteiner, George      4/21/2016 Thu   Analyze   Analyze appellate filings.
Wright/RWCA   0.8 Eppsteiner, George      4/22/2016 Fri   Analyze   Review record on appeal.


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Wright/RWCA     0.8 Eppsteiner, George     4/22/2016 Fri    Analyze   Review record on appeal.
                                                                      Review briefs in preparation for drafting reply
Wright/RWCA     1.8 Eppsteiner, George     4/26/2016 Tue    Analyze   brief.
                                                                      Review briefs in preparation for drafting reply
Wright/RWCA     1.8 Eppsteiner, George     4/26/2016 Tue    Draft     brief.
Wright/RWCA     0.7 Eppsteiner, George     4/27/2016 Wed    Analyze   Draft outline for reply brief.
Wright/RWCA     0.8 Eppsteiner, George     4/27/2016 Wed    Draft     Continued preparation of reply brief.
Wright/RWCA       2 Eppsteiner, George      5/5/2016 Thu    Attend    Preparation for oral argument.
Wright/RWCA       2 Eppsteiner, George      5/5/2016 Thu    Analyze   Preparation for oral argument.
                                                                      Travel from Office to Richmond for Fourth Circuit
Wright/RWCA     2.6 Eppsteiner, George      5/9/2016 Mon    Travel    Argument.
Wright/RWCA     1.8 Eppsteiner, George      5/9/2016 Mon    Attend    Attend Fourth Circuit Argument.
                                                                      Return travel from Fourth Circuit argument in
Wright/RWCA     2.6 Eppsteiner, George      5/9/2016 Mon    Travel    Richmond to office.

TOTAL TIME    110.3




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RWCA/Wright ‐ Christopher Ketchie Time Records
Project              Hours            User                       Time Date       DOW   Task       Description
Wright                              1 Ketchie, Christopher D.          3/29/2013 Fri   Analyze    proposed district plans
Wright                              5 Ketchie, Christopher D.          4/30/2013 Tue   Analyze    import shapefiles
Wright                              4 Ketchie, Christopher D.           5/3/2013 Fri   Analyze    geocode plaintiff residences
Wright                              5 Ketchie, Christopher D.           5/7/2013 Tue   Analyze    examine population data
Wright                           6.25 Ketchie, Christopher D.           5/8/2013 Wed   Analyze    review alternative plans

Wright                               8 Ketchie, Christopher D.         6/7/2013 Fri    Analyze    examine equal population alternatives
Wright                               4 Ketchie, Christopher D.        6/10/2013 Mon    Research   alternative district configurations
Wright                               2 Ketchie, Christopher D.        6/12/2013 Wed    Research   new district population data
Wright                               4 Ketchie, Christopher D.        6/13/2013 Thu    Research   comparison of previous plans
Wright                             4.5 Ketchie, Christopher D.        6/19/2013 Wed    Analyze    partisan impacts of new plans
Wright                               4 Ketchie, Christopher D.        6/20/2013 Thu    Analyze    partisan impacts of new plans
Wright                               6 Ketchie, Christopher D.        6/24/2013 Mon    Analyze    Stam amendments
Wright                               3 Ketchie, Christopher D.        6/27/2013 Thu    Analyze    partisan impacts of new plans
Wright                               2 Ketchie, Christopher D.         8/7/2013 Wed    Analyze    Precinct Update for Clients
Wright                             5.5 Ketchie, Christopher D.        8/14/2013 Wed    Analyze    Stats comparing plans

Wright                               3 Ketchie, Christopher D.        8/21/2013 Wed    Analyze    Analysis for client (Maps and Statistics)

WRIGHT ONLY TIME                67.25


                                                                                                  Comparison between Wake School Board and
Wright/RWCA                       0.25 Ketchie, Christopher D.         3/9/2015 Mon    Analyze    BOCC Districts for Allison

                                                                                                  Wake County Redistricting (Numbered District
Wright/RWCA                          4 Ketchie, Christopher D.        3/13/2015 Fri    Analyze    Alternative)

                                                                                                  Redistricting / Incumbent & Plaintiff
Wright/RWCA                          6 Ketchie, Christopher D.        3/16/2015 Mon    Analyze    Geocoding




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                                                                         Preparing Block Assignment Files ‐ Emailing
Wright/RWCA     0.5 Ketchie, Christopher D.   3/17/2015 Tue   email to   Instructions to Erika Churchill

                                                                       Checking Additional Plaintiff Geocodes / D4
Wright/RWCA    0.75 Ketchie, Christopher D.   3/18/2015 Wed   Research Precinct List

                                                                       Checking Additional Plaintiff Geocodes / D4
Wright/RWCA    0.75 Ketchie, Christopher D.    4/1/2015 Wed   Research Precinct List

Wright/RWCA     0.5 Ketchie, Christopher D.    4/7/2015 Tue   Research Plaintiff District Lookup for Anita

Wright/RWCA     0.5 Ketchie, Christopher D.    4/8/2015 Wed   Research Plaintiff District Lookup for Anita


                                                                         Wake County Commissioner District Split
Wright/RWCA     2.5 Ketchie, Christopher D.    4/8/2015 Wed   Analyze    Precinct Analysis for Anita

Wright/RWCA       1 Ketchie, Christopher D.    4/9/2015 Thu   Research Plaintiff District Lookup for Anita

Wright/RWCA       3 Ketchie, Christopher D.    4/9/2015 Thu   Research Reading Harris v. McCrory Analysis

                                                                         Wake County Districts ‐ Precinct Assignments
Wright/RWCA    3.25 Ketchie, Christopher D.   4/13/2015 Mon   Analyze    for Plaintiff Identification

TOTAL TIME    90.25




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RWCA/Wright ‐ Fred McBride ‐ Time Records
Project               Hours       User                Time Date      DOW   Task        Description
RWCA/Wright                     1 McBride, Fred G.        10/11/2015 Sun   Conf Call   conf call with expert
                                                                                       Review/research complaint, maps, data, construct and send shape
RWCA/Wright                      4 McBride, Fred G.       10/12/2015 Mon   Analyze     file to expert
RWCA/Wright                    1.6 McBride, Fred G.       10/14/2015 Wed   Analyze     analyze election returns, call with expert
RWCA/Wright                    3.5 McBride, Fred G.       10/15/2015 Thu   Analyze     Format election returns to csv file, call with expert
RWCA/Wright                    6.3 McBride, Fred G.       10/16/2015 Fri   Analyze     Format election returns to csv file, call with expert
RWCA/Wright                    6.6 McBride, Fred G.       10/19/2015 Mon   Analyze     Format election returns to csv file
RWCA/Wright                    7.3 McBride, Fred G.       10/20/2015 Tue   Analyze     Format election returns to csv file
RWCA/Wright                    6.3 McBride, Fred G.       10/21/2015 Wed   Analyze     Format election returns to csv file

RWCA/Wright                    3.1 McBride, Fred G.       10/27/2015 Tue   Analyze     Format election returns to csv file, research candidate pol info

RWCA/Wright                    6.7 McBride, Fred G.       10/29/2015 Thu   Analyze     Format election returns to csv file, research candidate pol info

RWCA/Wright                    7.7 McBride, Fred G.       10/30/2015 Fri   Analyze     Format election returns to csv file, research candidate pol info

RWCA/Wright                   0.8 McBride, Fred G.         11/5/2015 Thu   Analyze     Format election returns to csv file, research candidate pol info
RWCA/Wright                     2 McBride, Fred G.        11/16/2015 Mon   Analyze     Prepare work product for Defendant's Doc Request
RWCA/Wright                   0.3 McBride, Fred G.        11/17/2015 Tue   Analyze     Prepare work product for Defendant's Doc Request
RWCA/Wright                   0.5 McBride, Fred G.         12/1/2015 Tue   Analyze     Prepare work product for Defendant's Doc request
RWCA/Wright                   5.8 McBride, Fred G.         12/2/2015 Wed   Analyze     Analysis of expert report, research methodology used
RWCA/Wright                   0.2 McBride, Fred G.         12/3/2015 Thu   Analyze     email expert re travel
RWCA/Wright                     1 McBride, Fred G.         12/4/2015 Fri   Analyze     Review expert travel details
RWCA/Wright                   7.3 McBride, Fred G.        12/12/2015 Sat   Analyze     Prepare maps, exhibits for trial
RWCA/Wright                   5.8 McBride, Fred G.        12/14/2015 Mon   Prepare     Trial prep, review experts, witness list
RWCA/Wright                     9 McBride, Fred G.        12/15/2015 Tue   Review      Trial prep, review experts, witness list
RWCA/Wright                  12.2 McBride, Fred G.        12/16/2015 Wed   Attend      1st day of trial
RWCA/Wright                   9.2 McBride, Fred G.        12/17/2015 Thu   Attend      2nd day of trial

TOTAL TIME                  108.2




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RWCA/Wright Time Records ‐ Jaclyn Maffetore

Name                   Date            Work Description                                                                                      Case      Time Spent
Jaclyn Maffetore        March 1, 2016 Reading recently issued opinion on our case to prepare for appeal                                       RWCA          4.0
Jaclyn Maffetore        March 2, 2016 Reading recently issued opinion on our case to prepare for appeal, picking out errors of fact or law    RWCA          2.5
Jaclyn Maffetore        March 2, 2016 Researching deadlines following notice of appeal and creating chart                                     RWCA          0.8
Jaclyn Maffetore        March 3, 2016 Researching deadlines following notice of appeal and creating chart                                     RWCA          0.5
Jaclyn Maffetore        March 9, 2016 Reviewing trial court findings of fact                                                                  RWCA          1.5
Jaclyn Maffetore       March 14, 2016 Proofreading notices of appeal                                                                          RWCA          0.5
Jaclyn Maffetore        April 6, 2016 Researching weight afforded to legislative testimony                                                    RWCA          6.2
Jaclyn Maffetore        April 7, 2016 Researching and drafting memo on weight afforded to legislative testimony                               RWCA          3.5
Jaclyn Maffetore        April 7, 2016 Researching clearly erroneous standard of review                                                        RWCA          5.2
Jaclyn Maffetore        April 8, 2016 Researching and drafting research memo on clearly erroneous standard of review                          RWCA          6.8
Jaclyn Maffetore        April 12, 2016 Compiling and editing trial exhibits and ordering them to form portion of Joint Appendix for appeal    RWCA          5.8
Jaclyn Maffetore        April 13, 2016 Adding citations to draft brief from joint appendix                                                    RWCA          5.0
Jaclyn Maffetore        April 14, 2016 Proofreading brief for appeal                                                                          RWCA          2.0
                                                                                                                                               Total       44.3




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Wright RWCA Legal Fellow Time

    Date      Timekeeper          Case      Hours       Task                Description

   3/21/2013 Collins, Jeremy      Wright         0.25 Conf.                 meeting with Anita to discuss conducting client conference, retaine
   3/27/2013 Collins, Jeremy      Wright         0.35 Conf.                 Conference with Anita, review Wake Co. Sch. Bd. bill
    4/2/2013 Collins, Jeremy      Wright            2 Meeting               in Raleigh with Anita & clients
    4/3/2013 Collins, Jeremy      Wright          0.5 emails                to clients re signing retainer agreements
    4/4/2013 Collins, Jeremy      Wright          1.5 Telephone call‐Client calls to clients to obtain signed copies of retainer agreements
   6/10/2013 Collins, Jeremy      Wright          3.4 Legal Research        re: one‐person, one vote claims
   6/11/2013 Collins, Jeremy      Wright          4.5 Draft                 legal memorandum on voting rights cases
   6/12/2013 Collins, Jeremy      Wright         2.25 Edit                  draft brief and update research
    8/5/2013 Collins, Jeremy      Wright         0.25 Conf.                 with Anita to review clients in school board case
    8/5/2013 Collins, Jeremy      Wright          2.5 Meeting               with potential clients in Raleigh
    8/6/2013 Collins, Jeremy      Wright          0.3 Research              information about precincts in districts, email to Yevonne Brannon
    8/7/2013 Collins, Jeremy      Wright         0.25 Email                 to clients with retainer agreements
   8/12/2013 Collins, Jeremy      Wright          0.6 Review                draft complaint
   8/21/2013 Collins, Jeremy      Wright          2.3 Legal Research        re: proper defendants for constitutional claims & memo to Allison
   8/22/2013 Collins, Jeremy      Wright          0.8 Draft                 email to clients attaching filed documents and explaining next steps
             Total                              21.75


   7/14/2014 Heaney, Chris        Wright            2.45 Research           cases related to legal issues raised by reply brief
   7/15/2014 Heaney, Chris        Wright            1.33 Review             reviewing briefs for 4th Circuit appeal
   7/15/2014 Heaney, Chris        Wright            1.58 Edit               revising reply brief
             Total                                  5.36


   4/13/2015 Crupi, Joseph        RWCA                 5 Prepare            Pleadings file
   6/17/2015 Crupi, Joseph        RWCA              0.75 Review             Additional pleadings and organize files
   8/24/2015 Crupi, Joseph        RWCA               2.5 Prepare            Additional pleadings for file
             Total                                  8.25




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